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  5
      Attorneys for Plaintiff,
  6   VAZGEN KHACHATRYAN
  7                       UNITED STATES BANKRUPTCY COURT
  8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
      In re:                                    )   Bankruptcy No. 1:15-bk-11139-MB
 10                                             )
      SHAHEN MARTIROSIAN                        )   ADVERSARY NO. 16-AP-01091
 11                                             )
                                                )   PLAINTIFF'S SUPPLEMENTAL BRIEF
 12                                             )   IN SUPPORT OF REQUEST FOR A
                                                )   PRELIMINARY INJUNCTION;
 13                                             )
                                                )   DECLARATIONS OF DANIEL BONE,
                                                )   ROBERT MEYER AND JONATHAN
 14
                                                )   MALEK
 15                                             )
                                                )
 16                                             )
                                                )
 17                                             )
                                                )
 18   _____________________________________ )
                                                )
 19   VAZGEN KHACHATRYAN                        )
                                                )   DATE: February 1, 2017
 20              Plaintiff,                     )
                                                )   TIME: 1:30 PM
      vs.                                       )   COURTROOM: 303
 21
                                                )
 22   SHAHEN MARTIROSIAN; CPI REAL)
      ESTATE GROUP, INC., doing business as)
 23   REALTY       EXECUTIVES       PREMIERE)
      ESCROW          DIVISION;      VIRGINIA)
 24   MARTIROSIAN;                     ANAHIT)
      HARUTYUNYAN; 4705 EXCELENTE)
 25   INC.,    a California corporation; CITY)
      NATIONAL FINANCE, a business entity)
 26   form unknown and DOES 1 to 100 inclusive, )
             Defendants                         )
 27

 28


                                                                                            1
               PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
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  1                                              1. INTRODUCTION

  2
               On December 27, 2016, this court held an evidentiary hearing considering Plaintiff’s
  3
      request for a temporary restating order on a foreclosure being attempted by Defendant City
  4
      National Finance. The court heard testimony of Plaintiff and Jamal Dawood on behalf of
  5
      Defendant City National Finance. After hearing the testimony, the court found the testimony
  6
      of Jamal Dawood not to be credible and granted the temporary restraining order.
  7

  8            At the hearing, the court set a hearing date for a request for a preliminary injunction as

  9   well as a briefing schedule. The court also requested that the record be supplemented to

 10   include information regarding the value of the subject property, Defendant

 11   HARUTYUNYAN’s ability to speak English and financial status.

 12
               This Court has already found that the plaintiff satisfied the following legal standards in
 13
      support of a Temporary Restraining Order:
 14

 15            A. Probability of success on the merits: The court has already found that there is a

 16   mountain of circumstantial evidence that the property at issue was the subject of a fraudulent

 17   transfer. Pg 24, ln 21 to Pg 25 ln 13 (Attached as part of Exhibit H to the Declaration of

 18   Jonathan Malek).

 19
               B. The balance of equities favor Plaintiff: The court also found that the potential for
 20
      irreparable harm and the balance of equites were in favor of the Plaintiff. Pg 28, ln 19-24
 21
      (Attached as part of Exhibit H to the Declaration of Jonathan Malek). Additionally, as
 22
      discussed in further detail below, the loan is usurious as it seeks an interest rate of more than
 23
      10%, which limits may limit City National’s recovery to the amount of funds actually
 24
      advanced.
 25

 26            C. Injunction is in the public interest: The court also found that an injunction is in the

 27   public interest. Pg 29 ln 14-18 (Attached as part of Exhibit H to the Declaration of Jonathan

 28   Malek.


                                                                                                          2
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  1           With respect to the remaining prong of the preliminary injunction test – whether

  2   Plaintiff will suffer irreparable harm – the Court requested additional facts with respect to the

  3   value of the subject property, Defendant Harutyunyan’s ability to speak English and

  4   Harutyunyan’s financial status. This brief address that request.

  5
              1. Plaintiff will suffer irreparable harm without a preliminary injunction because the
  6
      Property – which is the debtor’s sole asset – is worth $1.5 million, and if the property is sold
  7
      at a foreclosure sale, it will wipe out Plaintiff’s ability to use the property for recovery of his
  8
      damages. (See Appraisal of Daniel Bone.) This Court has already found the witness of City
  9
      National Finance to be wholly incredible on the issue of value. (Pg 28 ln 25 – Pg 29 lns 5, 22-
 10
      24)
 11

 12           2. Defendant Harutyunyan does not speak nor does she understand English. The

 13   testimony to the contrary constitutes a blatant misrepresentation to the Court. In

 14   HAUTYUNYAN's verified interrogatory responses in this case, Harutunyan asserted, in no

 15   uncertain terms, that she did not speak or read English with ease. (See Exh "A" to the

 16   Declaration of Malek Form Interrogatory 2.9 and responses thereto).

 17
              3. The court requested supplemental evidence on the financial condition of
 18
      HARUTYUNYAN. From HARUTYUNYAN’s Deposition testimony, Defendant
 19
      HARUTYUNYAN’s recently dismissed bankruptcy filing, and the testimony of Jamal
 20
      Dawood, it appears that HARUTYUNYAN is a mere straw buyer and did not have the
 21
      financial resources for the purchase or to fund construction on the property as claimed by
 22
      Jamal Dawood.
 23

 24           First, in another adversary proceeding, Defendant HARUTYUNYAN testified at her

 25   deposition that she was a seamstress that did not own any property. (HARUTYUNYAN

 26   deposition at pg 14 ln 7-10, pg 27 ln 11-13. ) and was receiving utilities under a low income

 27   discount. Exhibit “I” to the Declaration of Jonathan Malek.

 28


                                                                                                            3
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  1          Second, Defendant HARUTYUNYAN filed for Ch 7, bankruptcy on the date of the

  2   hearing on the TRO under case no 2:16-bk-26852-DS, which was dismissed on January 13,

  3   2017, for failure to file schedules.

  4
             Third, Jamal Dawood testified that under his agreement with HARUTYUNYAN, she
  5
      was to leave reserves with City National in the sum of $108,000.00 as a requirement of the
  6
      loan. Ms. HARUTYUNYAN could not honor the requirement, did not place any down
  7
      payment at all and paid no escrow expenses whatsoever . (Dawood testimony pg 104 ln 7-
  8
      18.) Given that the purchase contract required HARUTYUNYAN to put down $200,000.00
  9
      and she neglected to pay even a single dollar toward the purchase of the property (Exhibit "B"
 10
      to the moving papers), it is clear that HARUTYUNYAN did not have any funds for the
 11
      purchase of the property nor any funds to pay for construction on the allegedly damaged
 12
      property.
 13

 14          Therefore, it is clear that HARUTYUNYAN did not contribute any money toward the

 15   purchase of the property, never lived in the property, did not pay the mortgage on the property

 16   and had no funds or apparent resources for construction or repairs to the property, it strongly

 17   leads to the conclusion that this was not a legitimate sale but instead a straw buyer

 18   participating in a fraudulent transfer.

 19
                      2. PLAINTIFF IS ENTITLED TO A PRELIMINARY INJUNCTION
 20

 21
             A plaintiff seeking a preliminary injunction “must establish”: 1) “that he is likely to
 22
      succeed on the merits”; 2) “that he is likely to suffer irreparable harm in the absence of
 23
      preliminary relief”; 3) “that the balance of equities tips in his favor”; and 4) “that an
 24
      injunction is in the public interest.” Winter v. Natural Resources Defense Council, Inc. (2008)
 25
      555 US 7, 20, 129 S.Ct. 365, 374 (emphasis added)
 26
             “In each case, a court must balance the competing claims of injury and must consider
 27

 28   the effect on each party of the granting or withholding of the requested relief.” Amoco



                                                                                                         4
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      Production Co. v. Village of Gambell, Alaska (1987) 480 US 531, 542, 107 S.Ct. 1396, 1402
  1

  2   (emphasis added); Dogloo, Inc. v. Doskocil Mfg. Co., Inc. (CD CA 1995) 893 F.Supp. 911,

  3   917 (citing text).

  4
              According to the Ninth Circuit, even after Winter, “serious questions going to the
  5

  6   merits” and a “balance of hardships that tip sharply toward” plaintiff can support a

  7   preliminary injunction provided “plaintiff also shows that there is a likelihood of irreparable

  8   injury and that the injunction is in the public interest.” Alliance for Wild Rockies v. Cottrell
  9   (9th Cir. 2011) 632 F.3d 1127, 1131-1132; see Leiva-Perez v. Holder (9th Cir. 2011) 640
 10
      F.3d 962, 966—Winter “did not alter our authority to balance the elements of the preliminary
 11
      injunction test, so long as a certain threshold showing is made on each factor”; Drakes Bay
 12
      Oyster Co. v. Jewell (9th Cir. 2014) 747 F.3d 1073, 1085—“‘likelihood’ of success per se is
 13

 14   not an absolute requirement”.

 15
              A preliminary injunction is customarily granted on the basis of procedures less formal
 16
      and evidence less complete than at trial. Therefore, the moving party need not prove his or
 17
      her case in full at a preliminary injunction hearing. University of Texas v. Camenisch (1981)
 18
      451 US 390, 395, 101 S.Ct. 1830, 1834; Byrum v. Landreth (5th Cir. 2009) 566 F3d 442,
 19
      446—plaintiff's evidence need not meet summary judgment standard.
 20

 21           In this case, the court found that Plaintiff was the victim of fraud and that there is

 22   ample evidence strongly indicating that the property at issue was fraudulently transferred

 23   which demonstrates a probability of success on the merits. The court also found that an

 24   injunction was in the public interest. As discussed in connection with the appraisal below,

 25   Plaintiff will suffer irreparable injury as the property contains a significant amount of equity.

 26   Thus, Plaintiff would be irreparably harmed if the property was sold at a foreclosure sale.

 27   Additionally, as discussed in detail below, the reports from Plaintiff’s experts also directly

 28   contradict the testimony of Jamal Dawood, leading to the conclusion that City National



                                                                                                          5
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  1   Finance participated in the fraudulent transfer and provided false testimony to this court at the

  2   temporary restraining order evidentiary hearing.

  3
              A. The loan of City National is Usurious and City National Cannot Credibly
  4
                  determine the loan amount.
  5

  6
              California's usury law, set forth in Article XV Section 1 of the California Constitution
  7
      and codified in 10 different code sections, limits the amount of interest which can be charged
  8
      on any loan, or forbearance, of money. A "forbearance" is the refraining from taking legal
  9
      action to enforce a debt, right, or obligation. Oftentimes a forbearance would describe the
 10
      lender's agreement to extend the due date on an existing loan in return for an increased
 11
      interest rate.
 12
              Pursuant to California law, non-exempt lenders can charge a maximum of: (i) 10%
 13
      interest per year (.8333% per month) for money, goods or things used primarily for personal,
 14
      family or household purposes and (ii) for other types of loans (home improvement, home
 15
      purchase, business purposes, etc.), the greater of 10% interest per year, or 5% plus the Federal
 16
      Reserve Bank of San Francisco’s discount rate on the 25th day of the month preceding the
 17
      earlier of the date the loan is contracted for, or executed. In other words, the general rule is
 18
      that a non-exempt lender cannot charge more than 10% per year (.8333% per month), unless
 19
      there is an applicable exemption.
 20

 21           Whether a loan or forbearance of money is usurious depends on the nature of the

 22   transaction. Sensitive to the ingenuity and creativity of those entrepreneurs willing to engage

 23   in legal brinkmanship to maximize profits, courts have carefully scrutinized the form of

 24   seemingly innocuous commercial transactions to determine whether the substance amounts to
 25   a usurious arrangement. (Southwest Concrete Products v. Gosh Construction Corp. (1990) 51
 26   Cal. 3d 701, 705 [274 Cal. Rptr. 404, 798 P.2d 1247].)
 27

 28


                                                                                                         6
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  1          The purpose of the usury laws are to “forbid absolutely to the lender any profit

  2   whatever by way of commission, bonus or other kind of charge, if in doing so the maximum

  3   rate declared in the act was exceeded." Haines v. Commercial Mortgage Co., 200 Cal. 609,

  4   615; Calimpco, Inc. v. Warden, 100 Cal. App. 2d 82 (1962).

  5          First, as previously established, City National Finance was not authorized to do
  6   business in California at the time of the subject loan.
  7
             Second, City National Finance’s interest rate at 12% is in violation of California Law.
  8
      “When a loan is usurious, the creditor is entitled to repayment of the principal sum only. He is
  9
      entitled to no interest whatsoever.” Winnett v. Roberts, 179 Cal. App. 3d 909, 921, 225 Cal.
 10
      Rptr. 82, 88 (Ct. App. 1986) Gibbo v. Berger, 123 Cal. App. 4th 396, 403, 19 Cal. Rptr. 3d
 11
      829, 834 (2004). See Also Teichner v. Klassman (1966) 240 Cal. App.2d 514 [49 Cal. Rptr.
 12
      742], both the plaintiff (lender) and the defendant (borrower) had joined in the violation of the
 13
      usury laws and the plaintiff, after having brought suit against the defendant, was restricted in
 14
      its recovery to the principal sum advanced.
 15
             At the temporary restraining order hearing, Dawood testified that the payoff amount
 16
      included interest. (Dawood Testimony pg 60 ln 12- pg 61 ln 14.) As City National is not
 17
      entitled to interest, the attempt to foreclose on the property is based on an erroneous amount.
 18
      Additionally, the interest actually paid should be applied to principle which would further
 19
      reduce the amount claimed by City National. Last, the Deed of trust represents reserves that
 20
      were supposed to be left by Defendant HARUTYUNYAN (Dawood Testimony at pg 104 ln
 21
      7-18) and not funds advanced casting further doubt on the legitimacy of the loan and sale.
 22

 23          Therefore, the total claim of City National would be around $600,000.00, assuming
 24   for the sake of argument that the loan was legitimate.
 25
             B. The Testimony on Jamal Dawood during the December 27, 2016 Hearing was not
 26
                 Credible.
 27

 28          During the testimony of Jamal Dawood during the December 27, 2016 hearing, he


                                                                                                         7
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  1   made the following claims:
  2
             First, Dawood testified that he was at the property in August of 2016, that there were
  3
      "major structural issues" and that "the pool was going to slide into the neighbor’s yard."
  4
      Dawood testimony at pg 147 ln 21-25, pg 149 ln 1-4 . The testimony of Plaintiff’s expert
  5

  6   directly contradicts this self serving and false testimony. Additionally, looking at an overview

  7   of the property, it clearly indicates there is no neighbor at all behind the pool area.(See

  8   Exhibit "E" to the declaration of Jonathan Malek.)
  9

 10          Second, Dawood purportedly “googled” the property to find evidence of severe

 11   damage to the property. He could not identify what websites he looked at in as a result of the
 12   search. (Dawood testimony at pg 54 ln 1-3, pg 99 ln 1-6.) However, when running a google
 13
      search of the property, counsel for the Plaintiff was unable to duplicate his claimed results and
 14
      found no such evidence at all. (Exhibits "C" and "D" to the Declaration of Jonathan Malek)
 15
      In fact, photos of the property found online complete contradict his claims. (Exhibit E to the
 16

 17   Declaration of Jonathan Malek.)

 18          Third, Dawood testified about Anahit Harutyunyan that:

 19                  Q. Okay. And was she fluent in English in your opinion?
                     A. She understood what I had to say and she knew what she
 20                  was doing. In terms of can I qualify her as a great
 21                  English person, I don't know her reading skill. (Dawood testimony at 84.)
             However, Defendant HARUTYUNYAN required an Armenian translator at her
 22
      deposition in the other adversary matter which clearly contradicts his testimony. (See Exh "B" to
 23
      declaration of Jonathan Malek - HARUTYUNYAN deposition Pg 6 ln 1-4). Additionally, in
 24
      HAUTYUNYAN's verified interrogatory responses in this case, Harutunyan asserted , in no
 25
      uncertain terms, that she did not speak or read English. (See Exh "A" to the Declaration of
 26
      Malek Form Interrogatory 2.9 and responses thereto)
 27

 28


                                                                                                       8
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             Federal jury instruction 1.11 states in part: “However, if you decide that a witness has
  1

  2   deliberately testified untruthfully about something important, you may choose not to believe

  3   anything that witness said.”

  4          As the court has already stated it found the testimony of Jamal Dawod not to be
  5
      credible and given the inconsistencies outlined above, the court can discount all of Jamal
  6
      Dawood’s testimony and infer that the “loan” from City National Finance is a sham.
  7
      However, as noted by the court earlier, the issue on the propriety of the City National Loan
  8
      does not need to be decided in order to grant the preliminary injunction. Drakes Bay Oyster
  9

 10   Co. v. Jewell (9th Cir. 2014) 747 F.3d 1073, 1085—“‘likelihood’ of success per se is not an

 11   absolute requirement” especially since the court has found that at the TRO hearing Plaintiff
 12   did establish the likelihood’ of prevailing on the fraudulent transfer claims. In Plaintiff’s
 13
      worse case scenario, Plaintiff’s claim to the property may be subordinate to the lien of City
 14
      National in terms of distributing the sales proceeds.
 15

 16          C. Defendant HARUTYUNYAN’s Financial Condition

 17
             The court requested supplemental evidence on the financial condition of
 18
      HARUTYUNYAN. From HARUTYUNYAN’s Deposition testimony, Defendant
 19
      HARUTYUNYAN’s recently dismissed bankruptcy filing, and the testimony of Jamal Dawood,
 20
      it appears that HARUTYUNYAN is a mere straw buyer and did not have the financial resources
 21
      for the purchase or to fund construction on the property as claimed by Jamal Dawood.
 22

 23          First, in another adversary proceeding, Defendant HARUTYUNYAN testified at her

 24   deposition that she was a seamstress that did not own any property. (HARUTYUNYAN

 25   deposition at pg 14 ln 7-10, pg 27 ln 11-13. )

 26

 27

 28


                                                                                                        9
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  1           Second, Defendant HARUTYUNYAN filed for Ch 7, bankruptcy on the date of the

  2   hearing on the TRO under case no 2:16-bk-26852-DS, which was dismissed on January 13,

  3   2017, for failure to file schedules.

  4
              Third, Jamal Dawood testified that under his agreement with HARUTYUNYAN, she
  5
      was to leave reserves with City National in the sum of $108,000.00 as a requirement of the loan.
  6
      Ms. HARUTYUNYAN could not honor the requirement, did not place any down payment at all
  7
      and paid no escrow expenses whatsoever . (Dawood testimony pg 104 ln 7-18.) Given that the
  8
      purchase contract required HARUTYUNYAN to put down $200,000.00 and she neglected to
  9
      pay $1 dollar toward the purchase of the property (Exhibit "B" to the moving papers), it is clear
 10
      that HARUTYUNYAN did not have any funds for the purchase of the property nor any funds to
 11
      pay for construction on the allegedly damaged property.
 12

 13           Therefore, it is clear that HARUTYUNYAN did not contribute any money toward the

 14   purchase of the property, never lived in the property, did not pay the mortgage on the property

 15   and had no funds or apparent resources for construction or repairs to the property, it strongly

 16   leads to the conclusion that this was not a legitimate sale but instead a straw buyer participating

 17   in a fraudulent transfer.

 18
              D. The Appraisal Report indicates that there is substantial equity in the property and
 19
                    that Plaintiff would be harmed by the loss of that equity.
 20

 21           As indicated by the appraisal of Daniel Bone, the property at issue, after taking into

 22   account the repairs to be conducted, is approximate $1.5 million. Given that the property is

 23   worth more than double the value of the alleged loans and $500,000.00, more than the amount

 24   that Jamal Dawood claims is due on the notes to City National, Plaintiff would be irreparably

 25   harmed if the property were sold at a foreclosure sale as no buyer will pay full market value

 26   for a property at a foreclosure sale without the opportunity to conduct inspections, and due

 27   diligence.

 28


                                                                                                            10
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  1           E. Further Evidence of Fraudulent Transfer

  2
              Defendant SHAHEN MARTIROSIAN recorded a deed transferring the Excelente
  3
      property to his wife in 2013. See Exhibit “O” attached to the moving papers. However, on
  4
      April 10, 2015, Defendant SHAHEN MARTIROSIAN files schedule “A” in which he claims to
  5
      own the property in fee simple. (See Docket Entry 19, Pg 6, attached hereto as Exhibit “F”.)
  6
      This claim by Defendant SHAHEN MARTIROSIAN that he still owns the property in 2015,
  7
      two years after he allegedly transferred it to his wife, clearly demonstrates that the transfer was a
  8
      sham and Defendant SHAHEN MARTIROSIAN still considered himself the owner of the
  9
      property. This is in addition to the fact that he has admittedly always maintained the subject
 10
      property as his residence and still lives there.
 11

 12                                                  3. CONCLUSION

 13
              Plaintiff has demonstrated the following: 1) “that he is likely to succeed on the
 14
      merits”; 2) “that he is likely to suffer irreparable harm in the absence of preliminary relief”;
 15
      3) “that the balance of equities tips in his favor”; and 4) “that an injunction is in the public
 16
      interest.” The Plaintiff respectfully requests that the court issue a preliminary injunction
 17
      enjoining foreclosure on the Excelente Property.
 18

 19   Dated: 1/23/17                                          Anaya Law Group
                                                             By__/s/Alana B. Anaya ___
 20
                                                              Alana B. Anaya
 21                                                           Attorneys for the Plaintiff

 22

 23

 24

 25

 26

 27

 28


                                                                                                         11
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   1                                         DECLARATION OF DANIEL BONE
   2           I , D A N I E L BONE, do declare and state as follows:
   3           1.       I am over the age o f 18 years old and not a party to this action.             I have
   4                    personal knowledge o f the facts stated herein, i f called upon, I could and would
   5                    testify competently thereto.
   6           1.        1 am a State-Certified Appraiser in this action and have personal knowledge o f
   7
                        the facts stated herein. A true and correct copy of my CV is attached hereto as
   8
                        Exhibit " A " .
   9
              2.        On January 4, 2017,1 visited the property commonly known as 4705 Excelente
  10
                        Dr, Woodland Hills, CA 91364 and conducted an appraisal o f the property. A
  11
                        true and correct copy o f the appraisal is attached hereto as Exhibit " B "
  12
              3.        According to my appraisal 1 place the value o f the property at $1.5 million
  13
                        taking into account the estimate to repair the property. A true and correct copy
  14
                        of the estimate is attached hereto as Exhibit "C".
  15

  16
              I declare under penalty of perjury under the laws of the United States o f America that
  17
       the foregoing is true and correct.
  18

  19
                                          th day o f January, 2017 in Woodland Hills, California.
  20

  21
                                                                  Daniel Bone
  22

  23

  24

  25

  26

  27

  28




                                                                                                             10
                    PLAINTIFF'S SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
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          Exhibit "A"
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                                                    Resume
                                                 Daniel R. Bone

Currently, and for the past 28 years, Daniel Bone has been appraising real estate for lenders, accountants and attorneys
on residential real estate throughout the California Southland. In addition, Daniel has been called upon to appraise
numerous historic properties and serve as an expert on the Uniform Standards of Professional Appraisal Practice
(USPAP). Daniel has taught continuing education to appraisers for over 20 years, and authored over 40 state-approved
courses for the Office of Real Estate Appraisers in Sacramento. His former position on the Board of Directors for a
National appraisal association and expertise in valuing real estate has made him one of the most highly respected
appraisers in the Los Angeles / Ventura area.


                                              Personal Information
Company Name:                THE APPRAISAL SCHOOL, INC.
                             DBA THE APPRAISAL PLACE
                             (03/22/1992 – Present)
                             2004: Year of Incorporation

                             6279-D Variel Avenue, Woodland Hills, California 91367
                             Phone: 818-715-0943 FAX: 818-715-0044
                             E-Mail: TheAppraisalPlace@gmail.com

Duties: C.E.O,; Owner, Senior Appraiser, Appraisal review, real property consulting, instructing basic and continuing
education appraisal courses, and for the last 28 years: Independent real estate appraiser servicing Western and
Northwestern Los Angeles County and all parts of the Ventura County.

State Certification:         State-Certified: AR 009434 - Certified Residential EXP. 09-22-2018

Designations:                AQB-Certified USPAP Instructor # 10062
                             (Approved for 2016-2017 USPAP)
                             Certified Distance Education Instructor
                             Fannie Mae Guidelines Instructor

Associations:                Member - Employee Relocation Council
                             Member - Burbank Board of Realtors
                             Member - Los Angeles Conservancy

Credentials:                 Instructor: AQB Certified Instructor, Fannie Mae Guidelines, Supervisory Appraising

                                            California Approved Courses
                                              Authored and Developed
Introduction to Appraising Real Property                        Expert Witness in Appraising
Applied Residential Property Valuation                          Advance Residential Form and Narrative Report Writing
Standards of Professional Practice                              Income Valuation of Small, Mixed Use Properties
Federal and State Laws and Regulations                          Basic Real Estate Principles
FHA and the Appraisal Process                                   Legal Aspects of Real Estate
Basic Income Capitalization                                     Property Management
Real Property Environmental Issues                              Real Estate Investment
Appraising Leasehold Interests                                  Green in Residences and Appraisals
ERC Summary Appraisal reports                                   Foreclosure Basics for Appraisers 7 Hours

Partial list of Historic Properties:

              8218 Thrasher Avenue                    West Hollywood , Ca. 90069
              1072 Newbern Ct.                        Westlake Village (Lake Sherwood), Ca. 91361 - Celebrity Owned
              Holly Hill House                        Santa Catalina Island
              3100 Mandeville Canyon Road             Brentwood, Ca. 90049 –     Celebrity Owned
              25342 Malibu Rd.                        Malibu, California 90265 – Celebrity Owned
              3510 Sweetwater Mesa                    Serra Retreat
              Wave House                              Malibu, Ca. 90265
              Hancock Park                                                       Celebrity Owned
              Estates @ the Oaks                      Prado De La Felicidad –    Celebrity Owned
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                                                 Resume
                                              Daniel R. Bone


                                                REFERENCES
   Lending References

   Gustavo Alveraz, Chief Appraiser Bank of Internet                   310-643-3589
   Don Smith, Reviewer, Union Bank                                     714-843-6768
   Ron Brunski                                                         818-231-7815
   Kim Croft, STARS Appraiser                                          818-707-1044

   Municipal Court Judges

   On File

   Attorney References

   Carol Newman ; Alleguez & Newman, LLP                               818-225-0056
   Law Offices of James W. Klein                                       310 477-1023
   Andrew Rotter (Law Offices of Gumport Mastan)                       213 452-4900

                                                   EXPERIENCE

2015 Summary of Recent Expert Witness testimony

   12/07/2015: Testify in front of the Ventura County Appeals Board on behalf of Adrian Davoodi for the property
   located at 119 Bell Canyon Road, Bell Canyon , Ca 91307

   11/10/2015: Ongoing: Single Family Dwelling appraisal to be used for dissolution of Kleckner Marriage. The
   property is located at 6028 Shirley Avenue, Tarzana, Ca. 91356

   10/19/2015: Court Testimony: Case of Thomas versus Zhou for a two-family property located at 2333-2335 Fernleaf
   Street, Los Angeles, Ca. 90031. The case dealt with an illegal taking of the property.

   08/26/2015: Single Family Dwelling appraisal to be used for dissolution of Wolf Marriage. The property is located at
   22450 Martha Street, Woodland Hills, Ca. 91367.

   07/13/2015: Testified in front of the Senate Appropriations Committee, Sacramento, Ca. against modifying State
   Appraisal Law AB 623. Lunch with the Director of the Bureau of Real Estates Appraisers.

2016 Summary of Recent Expert Witness testimony

   09/15/2016: Single Family dwelling appraisal(s) to be used for the dissolution of the Brown Marriage. The assignment
   involved the use of both retrospective and current effective dates.

   12/2016: Anya Law Group: Appraisal of Single Family dwelling with damage for the purpose of litigation.

2016: Courses:

   Uniform Standards of Professional Appraisal Practice – Update
   Fannie Mae FORM 1004MC
   Fannie Mae Guidelines
   Appraising Green Buildings
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                             Partial List of Expert Witness Cases


     2013 / 2014

     Niami v. Zuckerman – Superior Court – Los Angeles: The case involves estimating the
     diminution in value on two single-family dwellings from an illegal lot split.

     North Hollywood, Ca. “Rosenberg” The case involved a 5-story apartment building where the
     property manager cut some trees over the property boundary line. I was asked to develop
     an opinion regarding the diminution in value due to the lack of privacy from tenants looking
     directly into the backyard.
     Crisp and Cole: Bakersfield, Ca. 08/2013: Review appraisals prepared by various
     appraisers and form an opinion regarding the quality of the work under review and
     reasonableness of the value.

     Mandrick vs. Mandrick; Bell Canyon, Ca. 91307: 08/2013; I was used as a Rebuttal witness
     to challenge the appraisals prepared on 2 residential properties in Bell Canyon and
     Woodland Hills. California. The case in ongoing..

     Schrader vs. Mike Tufgedzich: West Hills, Ca. 91307: 09/2013; Defendant expert in a case
     where the roots of an adjacent property encroached onto the adjacent property causing pool
     damage and leaks.

     2011

     Mortgage Recovery Law Group. (November 2011): Retained as an expert to estimate the
     value of a vacant parcel in the Agoura area of Los Angeles County. The use is to estimate
     the retrospective market value of the subject property to be used as comparison to the
     10/08/2006 purchase.

     Jeff Sorrell v. the Office of Real Estate Appraiser’s (OREA) July 2011: Kelly Francisco of the
     Law Offices of Young / Wooldridge, Bakersfield Ca retained me as a consultant on two cases
     where the appraiser was accused of violating Federal Laws and Appraisal standards. I was
     used to explain the allegations and form an opinion about the quality of the appraiser’s work.

     Todd Neilson, Trustee v. Michael Brown (August 2010 to June 2011): This case filed in
     Federal Bankruptcy Court deals with a fraudulent transfer of a parcel of real estate in the San
     Fernando Valley. The case involves selling a property to an acquaintance at a below market
     price. The case involved several retrospective effective dates.

     2009 / 2010

     Oakview Ca.: “Aikens vs. County of Ventura” June 2007 – July 2009: The case involved
     estimating the diminution of value on 13 properties due to a destabilization of a slope. The
     sites were located on the bluffs of the Monte vista subdivision, where deep slide movement
     affected the properties above.

     Camarillo, Ca. “Checansky / Barrett / Chan vs. the County of Ventura” – 08/2008: The case
     involved a hillside slope failure caused by a County drainage easement that diverted the
     water on the plaintiff’s slope creating a large sinkhole threatening damage to the dwellings.
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  2007 / 2008

  Westlake Village, Ca. Donald Kaplan vs. Bocchi – July 2008: The case involved a neighbor that
  obstructed my client’s view by building a large home adjacent to his property. The assignment is
  to estimate the diminution in value due to the view obstruction

  Castaic Ca. Dissolution of the Quintero Marriage – 08/2007: The case involved expert witness
  testimony regarding one single-family dwelling located in Castaic California.

  Southgate, Ca. Dissolution of the Ibarra Marriage 09/17/2007: The assignment involved the
  appraisal and testimony of two commercial retail properties and one multifamily dwelling located
  in Southgate, California.

  Surfview – Pacific Palisades (06/19/2007): The plaintiff was being sued for the construction of a
  single-family dwelling that obstructed the view of the house next door. The assignment involved
  testimony regarding case studies on similar view lots and the dimension in value caused from the
  new construction, if any. The assignment involved two appearances before the Los Angeles
  Board of Zoning Appeals.

  Older Cases

  Los Angeles Ca. “Cohen” 08-2001: The case involved a slope failure in the Silver Lake area of
  Los Angeles. The slope failure shifted the dwelling off its foundation causing approximately
  $20,000 to 30,000 in estimated damage. Our recommendation to the client was to offer the
  owner $347,000 which was, in our opinion $50,000 below market value. The estimate was based
  on the cost-to-cure the defect, and small amount of environmental risk. The property sold for less
  than anticipated at $300,000.

  Calabasas, California “Mittleman vs. City of Calabasas” 1998: The case involved a slippage of the
  subject’s site after significant rainstorms. The slippage created damage to site improvements and
  residence. Outcome: Unknown

  Oak Park, California “700 Block Sassafrass” 1997: The case involved a mudslide onto the
  subject’s property from the neighbor above. The complete details of the case and cost-to-cure
  estimates have been forgotten.

  Agoura Hills, California 09-1995 “Olinn”: The case involved a mudslide caused from the irrigation
  system from a neighbor above our client. The mudslide shifted the house off its foundation and
  completely destroyed the dwelling. Litigation was brought against the City of Agoura Hills.
  Outcome Unknown. The cost to cure was more than the value of the property. The City now owns
  the property. Purchased for $300,000.

  Agoura Hills, California “Jim Bowie Drive” 1995: Litigation between neighbors due to a general
  slope failure. The purpose was to estimate the loss in value based on the cost-to-cure a hillside
  slope failure. Outcome of the case is unknown.

  Chatsworth, California “Indian Springs Development” 1994 – 1995: On January 17, 1994 the
  Northridge earthquake rocked the San Fernando Valley causing significant damage to real
  property in the area. Throughout most of 1994, I appraised over 50 single-family dwellings that
  had sustained earthquake damage. The cost-to-cure was supplied in every case. The appraisals
  were to be used for income tax purposes and be prepared in compliance with the guidelines of
  the Treasury Department. Within the Indian Springs development alone, over 20 single-family
  dwellings were appraised and diminution in value estimated based on the cost to cure.
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          Exhibit "B"
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                                APPRAISAL PLACE


                                                                           File No. 559H4-Ana




                                     APPRAISAL OF




                                      LOCATED AT:
                                      4705 Excelente Dr
                                   Woodland Hills, CA 91364




                                          CLIENT:
                                     Client: Alana B. Anaya
                                2629 Townsgate Road, Suite 140
                                  Westlake Village, CA 91361




                                           AS OF:
                                        January 4, 2017




                                             BY:
                                 Daniel Bone, Senior Appraiser
                                  State-Certified AR 009434




                        6279-D Variel Avenue * Woodland Hills, Ca. 91367
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                                      THE APPRAISAL PLACE
Alana B. Anaya
2629 Townsgate Road, Suite 140
Westlake Village, Ca. 91361

Dear Client:

In accordance with your request, I have personally appraised the Fee Simple interest to the property located at the
following street address:
                                              4705 Excelente Drive
                                         Woodland Hills, California 91364

The legal description is Tract 9098 Lot-209 EX of St. The property can be identified by Assessor Parcel Number
2076-009-031 as recorded in the Office of the County recorder in Los Angeles, California

The appraisal is identified as an APPRAISAL REPORT developed in conformity with the Uniform Standards of
Professional Appraisal Practice (USPAP). The appraisal report is prepared for, and restricted to the client and
intended users as identified. The function (use) is to estimate the “as is” market value of the subject, as of a current
date to aid in a division of assets for use in the United States Bankruptcy Court Bankruptcy No 1:15-bk-11139-MB.
No other uses are authorized. The appraisal is based upon the market value definition contained herein, subject to
the assumptions, limiting conditions and certifications included. The appraisal has been summarized on the standard
General Purpose Appraisal Report (rev.12-2010) with additional comments, photographs and exhibits found in the
body of the report.

Briefly summarized, the subject is located in the City of Los Angeles within the central San Fernando Valley
community of Woodland Hills. The neighborhood is approximately 25 miles Northwest of the Los Angeles downtown
business district off the (101) Ventura Freeway. The subject site is a 31,000sf lot improved with a 4882sf single
family dwelling built in 1989. The improvements are more recently built than most homes in the neighborhood and
constructed with good quality refinements. The improvements have obvious signs of damage with observable cracks
in the tile floors, cracks on the interior/exterior walls and ceiling damage. The damage repair estimate ranges from
$25,000 to $45,000. The single family use conforms to the neighborhood, and the property is currently at its highest
and best use based on the property zoning and surrounding properties.

The attached appraisal report relies on information gathered from my personal interior and exterior inspection with
verification of the data by Realist Property data services. The supplied data was assumed reasonably comparable to
the subject property and representative of general marketing conditions prevailing in the subject neighborhood.
When applicable, the appraiser has also relied on information and photographs from the local multiple listings.

All 3 approaches to value have been considered, however only one of the traditional approaches is developed. The
cost approach is not applicable since replacement costs and depreciation cannot adequately be estimated. The
Income Approach is not developed since the area is owner-occupied and estimated rents and/or gross rent multipliers
cannot reasonably be developed. The Cost Approach and Income Approach are not necessary for credible
assignment results. The sales comparison approach has been developed using a mix of recent and dated closed
sales.

The appraisal makes direct use an extraordinary assumption. Damage reports submitted to my office indicate as
much as $45,000 in needed repairs. As the appraiser is not an expert in identifying slope failures or repairing
damaged improvements, we have assumed this figure to be correct. Consistent with an extraordinary assumption, if
this figure is found to be false, this could alter or change my opinion.

The appraisal report has an intended use of a market value estimate as of a current effective date, which is the same
as the date the property was inspected. In my opinion, the as-is market value of the property based upon the reported
assumptions and limiting conditions and as of January 4, 2017 is:

                                                $1,500,000
                           (ONE MILLION AND FIVE HUNDRED THOUSAND DOLLARS)

The following report outlines the rationale, assumptions and analysis of the appraiser, in conjunction with descriptive
photographs.

Respectfully Submitted,




Daniel R. Bone
State-Certified AR 09434
CEO, the Appraisal Place
01/16/2017




                          6279-D Variel Avenue  Woodland Hills, Ca. 91367  Phone: 818.715.0943
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                                                                  APPRAISAL REPORT
                                                  SUMMARY OF SALIENT FEATURES
                                                                                                                       Case No.
                                                                                                                       File No. 559H4-Ana
                                                            SUBJECT INFORMATION

Subject Address         4705 Excelente Dr

Legal Description       Tract No 9098 EX of ST of Lot-209 as recorded in Map Book 132 Pages 14-36

City                    Woodland Hills

County                  Los Angeles

State                   CA

Zip Code                91364

Census Tract            1374.02

Map Reference           559 H4


                                                                      SALES PRICE

Sales Price          $ N/A

Date of Sale            N/A


                                                                             CLIENT

Borrower / Client       Client: Alana B. Anaya

Lender                  N/A


                                                      DESCRIPTION OF IMPROVEMENTS

Size (Square Feet)      4882

Price per Square Ft $ 0

Location                Residential

Age                     28

Condition               Fair/Damaged

Total Rooms             9

Bedrooms                5

Baths                   5


                                                                        APPRAISER



Appraiser
                            Daniel Bone, Senior Appraiser


Supervisory Appraiser



Date of Appraised Value 01/04/2017


                                                                              VALUE

Final Estimate of Value $ 1,500,000


                                                            Produced using ACI software, 800.234.8727 www.aciweb.com
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                                                                                          APPRAISAL REPORT
                                                                                    Residential Appraisal Report             File No. 559H4-Ana
                The purpose of this appraisal report is to provide the client with a credible opinion of the defined value of the subject property, given the intended use of the appraisal.
                Client Name/Intended User Alana B. Anaya                                     E-mail alana@anayalawgroup.com
PURPOSE




                Client Address 2629 Townsgate Road, Suite 140                                City Westlake Village               State CA     Zip 91361
                Additional Intended User(s) The report is intended for use only by the client "Alana B. Anaya." Intended users may include opposing counsel,
                my clients client, and members of the court hearing the case. No other users are intended.
                Intended Use The intended use is for litigation purposes only in US Bankruptcy Court. The report is identified as an "Appraisal Report" as
                per the Uniform Standards of Professional Appraisal Practice (USPAP) summarizing most of the information developed.
                Property Address 4705 Excelente Dr                                                                     City Woodland Hills                                       State CA         Zip 91364
                Owner of Public Record Anahit Harutyunyan                                                                                                                        County Los Angeles
SUBJECT




                Legal Description Tract No 9098 EX of ST of Lot-209 as recorded in Map Book 132 Pages 14-36
                Assessor's Parcel # 2076-009-031                                                                       Tax Year 2016                                             R.E. Taxes $ 7,764.00
                Neighborhood Name Woodland Hills / South of Blvd...                                                    Map Reference 559 H4                                      Census Tract 1374.02
                Property Rights Appraised         X Fee Simple             Leasehold           Other (describe)
                My research X did              did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                Prior Sale/Transfer:       Date 07/24/2015                            Price $600,000                   Source(s) Public Records / Realist
                Analysis of prior sale or transfer history of the subject property (and comparable sales, if applicable) The subject was purchased for $600,000 on 07/24/2015 from
                an original asking price of $925,000 per ML# 314033389. The sale was a short pay purchased at auction (all cash). The property has a
SALES HISTORY




                Interspousal Deed Transfer for No $ amount on 11/20/2013.




                Offerings, options and contracts as of the effective date of the appraisal The subject was listed for $2,200,000 on 05/18/2016 with the asking price reduced
                to $1,895,000 on 06/20/2016. The listing expired on 11/13/2016 per ML# 16105866

                             Neighborhood Characteristics                                              One-Unit Housing Trends                                      One-Unit Housing                             Present Land Use %
                Location    Urban      X Suburban   Rural     Property Values X Increasing  Stable     Declining                                                    PRICE 97 %             AGE       One-Unit
                Built-Up X Over 75%      25-75%     Under 25% Demand/Supply X Shortage      In Balance Over Supply                                                  $(000)  1%             (yrs)     2-4 Unit
                Growth      Rapid      X Stable     Slow      Marketing Time X Under 3 mths 3-6 mths   Over 6 mths                      550 Low                             1%                     0 Multi-Family
                Neighborhood Boundaries Ventura Blvd North, Calabasas City Limits West and South; Topanga                             1,300 High                            1%                    90 Commercial
NEIGHBORHOOD




                Canyon Blvd to the East                                                                                                 800 Pred.                           0%                    55 Other Vacant
                Neighborhood Description Located in the City of Los Angeles within the residential community known as Woodland hills. Specifically, south of
                Ventura Blvd in the hillsides of the Santa Monica mountains. We have bounded the neighborhood at Topanga Canyon to avoid using
                oversized flat lots in Vista De Oro or the Westchester estates. There are wide-ranging values due to custom vs. tract single family
                improvements and differences in the city lights,Valley and residential views. See text addendum.
                Market Conditions (including support for the above conclusions) Property values continue to rise on competitive properties although at a slower rate.
                Interest rates remain at historically low levels keeping exposure times low on competitively priced homes. Seller concessions are
                infrequent outside of possible non-recurring closing costs. Short sales/bank foreclosures are no longer a pertinent factor and the
                increased number of listings has helped stabilize the market. See Text Addendum...
                Dimensions SEE PLAT MAP                                         Area 31,000sf                     Shape Rectangular               View City Lights / Mountains
                Specific Zoning Classification LARE40                           Zoning Description Single Family Residence - Minimum 40,000 sf per unit
                Zoning Compliance            Legal    X Legal Nonconforming (Grandfathered Use)        No Zoning   Illegal (describe)
                Is the highest and best use of the subject property as improved (or as proposed per plans and specifications) the present use?                   Yes            No         If No, describe.


                Utilities        Public     Other (describe)                                                 Public         Other (describe)                     Off-site Improvements—Type                                Public          Private
SITE




                Electricity X                                 Water            X                                  Street Asphalt                X
                Gas         X                                 Sanitary Sewer   X                                  Alley None
                Site Comments
                            The subject site is larger than most in the neighborhood, however downsloping topography limits the usable size. The
                property has a beneficial mountain/residential view and corner lot location against 2 residential streets. The site is NOT in a FEMA
                Flood Hazard area per Map# 06037C1288F dated 09/26/2008


                              GENERAL DESCRIPTION                                      FOUNDATION                               EXTERIOR DESCRIPTION         materials                     INTERIOR                          materials
                Units X One          One w/Acc. unit                    X Concrete Slab       Crawl Space                       Foundation Walls     Concrete/Damaged                      Floors                  Wd/Mrble/Damaged
                # of Stories 2.0                                           Full Basement      Partial Basement                  Exterior Walls       Stucco/Avg                            Walls                   Drywall/Damaged
                Type X Det.            Att.       S-Det./End Unit       Basement Area                   0 sq. ft.               Roof Surface         Tile / Average                        Trim/Finish             Wood/Damaged
                X Existing          Proposed         Under Const.       Basement Finish                    0%                   Gutters & Downspouts Metal / Average                       Bath Floor              Marble/Tile
                Design (Style) Mediterranean                               Outside Entry/Exit     Sump Pump                     Window Type          Vinyl/Wd/Damaged                      Bath Wainscot           Marbe/Tile
                Year Built 1989                              Settlement: Unknown                                                Storm Sash/Insulated None             None                 Car Storage
                Effective Age (Yrs) N/A                      Infestation: None Observed                                         Screens                          # of Cars 3
                                                                                                                                                     Partial/Damaged                        X Driveway
                Attic                         None           Heating X FWA      HW            Radiant Amenities                WoodStove(s) #    Driveway Surface Concrete
                     Drop Stair               Stairs            Other          Fuel Gas               X Fireplace(s) # 2     X Fence Block       X Garage # of Cars 3
IMPROVEMENTS




                     Floor                X Scuttle          Cooling X Central Air Conditioning       X Patio/Deck Patio X Porch Cvrd                Carport     # of Cars
                     Finished                 Heated            Individual          Other             X Pool w/spa           X Other Tennis Cr X Att.                Det.        Built-in
                Appliances      X Refrigerator X Range/Oven X Dishwasher X Disposal X Microwave                 Washer/Dryer    Other (describe)
                Finished area above grade contains:             9 Rooms                  5 Bedrooms               4.1 Bath(s)        4,882 Square Feet of Gross Living Area Above Grade
                Additional Features A partial list includes a pool with waterfall spa, water feature, barbecue, Saltillo paver decking, lighted Tennis court,
                covered patio, coffered ceilings, marble-trim fireplaces, pitched ceilings and insulated windows.

                Comments on the Improvements
                                         The subject is a 1989-built, Mediterranean style single family dwelling that is more recently built and larger
                than most single family dwellings in the same neighborhood. The improvements feature detailed, high-quality interior refinements and
                detail. The workmanship, materials, and finishes throughout the dwelling are generally of good to high quality. The improvements are
                damaged with observable cracks in the tile floors, cracks on the interior/exterior walls, ceiling damage, doors out-of-plumb and concrete
                patios separating from the main house. Due to the amount of damage, we have not estimated an effective age.



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                                                                                                                  Page 1 of 4                                                              (gPAR™) General Purpose Appraisal Report 05/2010
                                                                                                                                                                                                                              GPAR1004_10 05262010
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                                                                                                     APPRAISAL REPORT
                                                                                               Residential Appraisal Report             File No. 559H4-Ana
                                    FEATURE                      SUBJECT                      COMPARABLE SALE NO. 1                                      COMPARABLE SALE NO. 2                                             COMPARABLE SALE NO. 3
                            4705 Excelente Dr                                        22541 Uhea Rd                                            4808 Reforma Rd                                                  4801 Azucena Rd
                            Address Woodland Hills, Ca 91364                         Woodland Hills, Ca 91364                                 Woodland Hills, Ca 91364                                         Woodland Hills, Ca 91364
                            Proximity to Subject                                     0.10 miles SW                                            0.19 miles NE                                                    0.19 miles NE
                            Sale Price                   $                    N/A                     $  1,170,000                                             $  1,150,000                                                     $  1,552,500
                            Sale Price/Gross Liv. Area   $              0.00 sq. ft. $ 359.12 sq. ft.                                         $ 339.83 sq. ft.                                                 $ 268.83 sq. ft.
                            Data Source(s)                                           MLS/CLAW- 16109144                                       MLS/CLAW- 16-982335                                              MLS/CLAW- 15-824339
                            Verification Source(s)                                   Realist Doc # 1453093                                    Realist Doc # 434706                                             Realist Doc # 575136
                            VALUE ADJUSTMENTS                 DESCRIPTION                 DESCRIPTION                 +(-) $ Adjustment             DESCRIPTION                       +(-) $ Adjustment               DESCRIPTION                        +(-) $ Adjustment
                            Sale or Financing                              0; Arm's Length                                                    0; Arm's Length                                                  0; Arm's Length
                            Concessions                                    Conv / DOM 182                                                     Conv / DOM 182                                                   Cash / DOM 40
                            Date of Sale/Time            N/A               11/2016;10/2016                                                    04/2016;03/2016                                 52,000           05/2015;03/2015                                 310,000
                            Location                     Quiet Residential Cul-de-sac/Good                                  -50,000           Cul-de-sac/Good                                -50,000           Cul-de-sac/Good                                 -50,000
                            Leasehold/Fee Simple         Fee Simple        Fee Simple                                                         Fee Simple                                                       Fee Simple
                            Site                         31,000sf          7763sf                                          230,000            33841sf                                                          24266sf
                            View                         Mtns/Good         City Lights/Super                              -100,000            Residential/Inf                               100,000            City Lights/Super                              -100,000
                            Design (Style)               Mediterranean     Mediterranean                                                      Mediterranean                                                    French
SALES COMPARISON APPROACH




                            Quality of Construction      Good              Good                                                               Average                                         50,000           Good
                            Actual Age                   28 Years          36 Years                                                           22 Years                                                         24 Years
                            Condition                    Fair/Damaged      Superior                                         -50,000           Superior                                       -50,000           Superior                                         -50,000
                            Above Grade              Total     Bdrms.      Baths     Total Bdrms.     Baths                                   Total Bdrms.           Baths                                     Total Bdrms.            Baths
                            Room Count                9         5       4.1       10 5     4.1                                                 9        4       3.1                          10,000 10 5     6.1                                               -40,000
                            Gross Living Area 150.00                4,882 sq. ft.      3,258 sq. ft.                       243,600                          3,384 sq. ft.                   224,700      5,775 sq. ft.                                        -134,000
                            Basement & Finished      0sf                          0sf                                                         0sf                                                   0sf
                            Rooms Below Grade
                            Functional Utility           Average        Average                           Average                         Average
                            Heating/Cooling              FWA C/Air      FWA C/Air                         FWA C/Air                       FWA C/Air
                            Energy Efficient Items       None           None                              None                            None
                            Garage/Carport               3 Car Garage   3 Car Garage                      3 Car Garage                    3, Garage
                            Porch/Patio/Deck             Patio/Deck     Patio/Deck                        Patio                           Patio
                            Amenities                                   2 F/P
                                                         2 F/P,T/Crts/BBQ                         50,000 3 F/P,RV Crtyrd         50,000 Gated/Sport Crt               0
                            Pools                        Pool,Spa       Saltwtr Pool,Spa                0 Pool,Spa                     0 Pool,Spa                     0
                            AP                           2076-009-031   2076-015-050                      2076-006-064                    2076-006-074
                            Net Adjustment (Total)                        X +         -  $       323,600 X +           -  $     386,700        +   X -   $       64,000
                            Adjusted Sale Price                         Net Adj. 27.7%                    Net Adj. 33.6%                  Net Adj. -4.1%
                            of Comparables                              Gross Adj. 61.8% $     1,493,600 Gross Adj. 51.0% $   1,536,700 Gross Adj. 44.1% $    1,488,500
                            Summary of Sales Comparison Approach The subject is located in a small planned development (the Heights) and there have been few recent
                            sales. The subject and project are more recently built than most single family dwellings and of superior quality and size. The subject
                            has a good canyon/residential view and sloping hillside topography. The selection of comparables focused on recent sales, dated sales
                            and active listings in the same neighborhood that bracket size, quality, age and design. SALE 1 through 3 are located in the same
                            planned development. SALE 1 is the most recent comparable, although with a smaller size and small backyard. SALE 2 is a dated
                            comparable that brackets size and site utility. SALE 2 has inferior quality refinements. All 3 properties are adjusted for superior
                            condition based on cost-to-cure. Lessor weight placed on SALE 4 located in a competing tract. PENDING SALE 5 is the most recent
                            sale in the project, however the sale has not yet closed. See text addendum...
                            COST APPROACH TO VALUE
                            Site Value Comments




                            ESTIMATED                REPRODUCTION OR               REPLACEMENT COST NEW                                OPINION OF SITE VALUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . = $
COST APPROACH




                            Source of cost data                                                                                        Dwelling                        Sq. Ft. @ $                                  ............ = $
                            Quality rating from cost service               Effective date of cost data                                                                              Sq. Ft. @ $                         ............ = $
                            Comments on Cost Approach (gross living area calculations, depreciation, etc.)
                                                                                                                                       Garage/Carport                  Sq. Ft. @ $                                ............ =               $
                                                                                                                                       Total Estimate of Cost-New                                                  ............ =              $
                                                                                                                                       Less              Physical    Functional              External
                                                                                                                                       Depreciation                                                                                       =    $(                               )
                                                                                                                                       Depreciated Cost of Improvements . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . =      $
                                                                                                                                       "As-is" Value of Site Improvements . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . =    $


                                                                                                                                       INDICATED VALUE BY COST APPROACH . . . . . . . . . . . . . . . . . . . . . .                         = $
                            INCOME APPROACH TO VALUE
                            Estimated Monthly Market Rent $                      X Gross Rent Multiplier                         =$                                   Indicated Value by Income Approach
INCOME




                            Summary of Income Approach (including support for market rent and GRM)



                            Indicated Value by: Sales Comparison Approach $                                   Cost Approach (if developed) $                                                 Income Approach (if developed) $
                            INCOME APPROACH: Not Developed: Typically used for income areas. Not typically developed in owner occupied neighborhoods due
                            to the lack of verifiable rental data and lack of support for gross rent multipliers. No necessary for credible assignment results.
RECONCILIATION




                            COST APPROACH: Not Developed: Typically not necessary due to the lack of precision in estimating depreciation & lack of site sales.
                            SALES COMPARISON APPROACH: Developed: Best approach since it typifies that actions of buyers and sellers in the market.
                            This appraisal is made X "as is," subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been completed,
                                subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed                                        subject to the following:



                            Based on the scope of work, assumptions, limiting conditions and appraiser's certification, my (our) opinion of the defined value of the real property
                            that is the subject of this report is $        1,500,000             as of   01/04/2017                                                          , which is the effective date of this appraisal.

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                                                                                                                              Page 2 of 4                                                                            (gPAR™) General Purpose Appraisal Report 05/2010
                                                                                                                                                                                                                                                        GPAR1004_10 05262010
                                                                                                                 The Appraisal Place
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                                                                                                 APPRAISAL REPORT
                                                                                           Residential Appraisal Report             File No. 559H4-Ana
                                    FEATURE                    SUBJECT                   COMPARABLE SALE NO. 4                                   COMPARABLE SALE NO. 5                                        COMPARABLE SALE NO. 6
                            4705 Excelente Dr                                      4424 Dulcinea Ct                                    4800 Azucena Rd                                            5096 Llano Dr
                            Address Woodland Hills, Ca 91364                       Woodland Hills, Ca 91364                            Woodland Hills, Ca 91364                                   Woodland Hills, Ca 91364
                            Proximity to Subject                                   0.71 miles SE                                       0.18 miles NE                                              0.72 miles NE
                            Sale Price                   $                  N/A                     $  1,350,000                                        $  1,499,000                                               $  1,800,000
                            Sale Price/Gross Liv. Area   $            0.00 sq. ft. $ 348.75 sq. ft.                                    $ 356.14 sq. ft.                                           $ 347.29 sq. ft.
                            Data Source(s)                                         MLS/CLAW- SR16073825                                MLS/CLAW- SR16109023                                       MLS/CLAW- SR16134474
                            Verification Source(s)                                 Realist Doc # 771362                                Org: $1,895,000                                            Org: $1,800,000
                            VALUE ADJUSTMENTS                DESCRIPTION             DESCRIPTION               +(-) $ Adjustment             DESCRIPTION                +(-) $ Adjustment                DESCRIPTION                        +(-) $ Adjustment
                            Sale or Financing                              0; Arm's Length                                             PENDING
                            Concessions                                    Conv / DOM 182                                              DOM 217                                         DOM 199
                            Date of Sale/Time            N/A               07/2016;05/2016                            48,000           12/2016                                         LISTING                                                   -180,000
                            Location                     Quiet Residential Cul-de-sac/Good                           -50,000           Cul-de-sac/Good                         -50,000 Quiet Residential
                            Leasehold/Fee Simple         Fee Simple        Fee Simple                                                  Fee Simple                                      Fee Simple
                            Site                         31,000sf          20,189sf                                         0          24266saf                                        12238sf                                                    190,000
                            View                         Mtns/Good         Mtns/Limited                                50,000          Mtns/Good                                       Mtns/Good
                            Design (Style)               Mediterranean     Traditional                                      0          Traditional                                   0 Villa                                                                     0
                            Quality of Construction      Good              Good                                                        Good                                            Good
                            Actual Age                   28 Years          36 Years                                                    21 Years                                        26 Years
                            Condition                    Fair/Damaged      Superior                                  -50,000           Superior                                -50,000 Superior                                                    -50,000
                            Above Grade              Total   Bdrms.      Baths   Total Bdrms.   Baths                                  Total Bdrms.           Baths                               Total Bdrms.            Baths
                            Room Count                9       5       4.1       10 5     5                           -5,000 12 6     4.1                                                          11         5       4                               5,000
                            Gross Living Area 150.00              4,882 sq. ft.      3,871 sq. ft.                  151,700      4,209 sq. ft.                                101,000                            5,183 sq. ft.                     -45,200
                            Basement & Finished      0sf                        0sf                                         0sf                                                                   0sf
                            Rooms Below Grade
                            Functional Utility           Average                 Average                      Average                                                                             Average
                            Heating/Cooling              FWA C/Air               FWA C/Air                    FWA C/Air                                                                           FWA C/Air
                            Energy Efficient Items       None                    None                         None                                                                                None
                            Garage/Carport               3 Car Garage            3 Car Garage                 3 Car Garage                                                                        2, Garage
                            Porch/Patio/Deck             Patio/Deck              Por/Patio/Deck               Patio                                                                               Balcony/Deck
                            Amenities                    2 F/P,T/Crts/BBQ        3 F/P                 50,000 1 F/P, BBQ             50,000                                                       1 F/P                                              50,000
                            Pools                        Pool,Spa                Slate Pool,Spa             0 Pool,Spa                    0                                                       None                                               80,000
                            AP                           2076-009-031            2173-014-003                  2170-002-043                                                                       2169-023-063
                            Net Adjustment (Total)                                 X +         -  $   194,700 X +           -  $     51,000                                                         X +         -  $                                 49,800
SALES COMPARISON APPROACH




                            Adjusted Sale Price                                  Net Adj. 14.4%               Net Adj.    3.4%                                                                    Net Adj.    2.8%
                            of Comparables                                       Gross Adj. 30.0% $ 1,544,700 Gross Adj. 16.7% $  1,550,000                                                       Gross Adj. 33.3% $                          1,849,800
                            Summary of Sales Comparison Approach         See text addendum and additional comments above the Cost Approach




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                                                                                                                 Additional Comparables                                                                 (gPAR™) General Purpose Appraisal Report 05/2010
                                                                                                                                                                                                                                           GPAR1004_10 05262010
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                                             NEIGHBORHOOD DESCRIPTION

  Description and Predominant Values

  The subject is located in the City of Los Angeles within the area known as Woodland Hills. There are several
  submarkets within Woodland Hills including North and South of Ventura Blvd, Westchester Estates, Vista De
  Oro, Carlton Terrace, Walnut acres and the Valley Circle Estates to name a few. The subject is specifically
  south of Ventura Blvd within the area west of Topanga Canyon boulevard and East of the City of Calabasas.
  The neighborhood is bounded at Topanga Canyon to avoid the golf course influence and $1,000,000+ custom
  sales in Vista De Oro and in the Westchester Estates located in the same zip code.

  Although early construction in Woodland Hills dates back to 1920s, within the subject’s immediate submarket
  construction in does not begin on tract-built housing until 1948. Construction continued consistently over the next
  20 years. As the lower end predominant is less than 1500 square feet without upgrades and on a smaller lot
  without a contributory view off these homes can sell for as low as $545,000 although few homes are available
  this low price. The lowest active listing as the effective date is $599,000. Property values tend to maximize at
  $1,300,000 for renovated properties over 3500 square feet with good city lights views. There are no gated
  projects or planned developments within this area of Woodland Hills, which accounts for the lower predominate
  high as compared to competing area of the zip code. Per MLS stats, most single family dwellings are 2000 to
  2200 square feet and tend to sell at, or near $800,000. These figures represent predominant values only.
  Isolated high and low extremes are excluded from the range. In addition, analyzing predominant values by zip
  code or city name will produce a much wider range.

  The neighborhood is accessed via the (101) Ventura Freeway connecting to the (405) San Diego Freeway within
  six miles. The Warner Center Business District and easy access to the Ventura Corridor provide for a steady
  employment base. There are several small retail strip centers along Ventura Blvd. and two regional malls within
  five minutes. No adverse conditions noted. Due to the hillside nature of the area, both public and private septic
  are typical to the area.

  Marketing Conditions

  General

  Marketing conditions changed significantly over the past decade with real estate peaks in 2006 followed by the
  subprime meltdown of 2007, and collapse of Fannie Mae and Freddie Mac by 2008. The foreclosure crises
  continued into 2010, however lowering interest rates helped stabilize the market in 2012, with market off-and-on
  market increases from 2013 into 2016.

  Specific

  We have analyzed properties throughout each quarter of the 12 month period immediately preceding the
  effective date, and have extended the marketing conditions analysis into 2015. We have analyzed properties in
  the same 91364 zip code ranging from 3500 to 6000 square feet. This produced the following figures:

         Time Period            # of Sales     Median Price   Median Size   $ per Sq.Ft        DOM      List/Sell Ratio
                                                                 (sf)
  01/04/2015 to 04/03/2015          8          $1,016,000        3816          $266            105           97%
  01/04/2016 to 04/03/2016          6          $1,122,500        4165          $270            56           100%
  04/04/2016 to 07/03/2016          7          $1,120,000        3785          $296            76           100%
  07/04/2016 to 10/03/2016          5          $1,355,000        3755          $361            40            99%
  10/04/2016 to 01/04/2017          8          $1,345,000        4083          $329            54            96%

  The figures above represent a continuation of increases throughout each quarter with a 22% increase in the
  median “price per square foot” over the past 12 months. Exposure times are low, list-to-sell ratios high and the
  market undersupplied due to increased competition from buyers taking advantage of historically low interest
  rates. Properties are purchased by investors as rental units or possible long term holds. Conventional financing
  is readily available with interest rates beginning to rise.

  Listings

  ACTIVE                           21          $1,469,900     3980          $369          76         8-10 Mo Supply

  There is an abundance of competitive listings in the neighborhood which may be an indicator of stabilizing values
  although there are no active listings in the same Heights Submarket.

  Subject Listing History

  The subject was listed for $2,200,000 on 05/18/2016 with the asking price reduced to $1,895,000 on 06/20/2016.
  The listing expired on 11/13/2016 per ML# 16105866. As property values were rising throughout this listing
  period and the market undersupplied, the fact that the property did not sell is an indicator of a high asking price.
  The listing expired, which tends to indicate that the asking price was higher than the market value of the
  property.




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                                                 SUBJECT PROPERTY

  Prior Sale

  None

  Improvements

  General: The subject is a two-story Mediterranean style property built in 1989. The improvements are larger and
  more recently built than most single family dwellings in the same neighborhood. The design features detailed,
  high-quality interior refinements and detail. The workmanship, materials, and finishes throughout the dwelling are
  generally of high quality. The improvements feature obvious deferred maintenance and are in need of some
  significant repairs. See Damages below.

  First Floor: Entry is into a foyer area that has high ceilings with upper fixed windows, custom doors with leaded-
  glass, circular in-laid marble floors and a wrought iron light fixture. There is a Living room (LR) off one side of the
  foyer and a Den/Office off the opposite side. The LR has short ceilings, recessed lighting, fireplace and arched
  interior walls. The Office has similar polished marble floors, custom drapes and bay windows. There is a Dining
  room off the LR with similar marble floors and a good quality kitchen with granite counters, granite Center Island,
  good quality cabinets and gourmet quality appliances (i.e. Viking). A Family room is off the kitchen with short
  ceilings, recessed lighting, French exterior doors, marble top wet bar and marble floors. There is one bedroom
  on the first floor with an original bathroom, and one additional bathroom off the hallway with travertine floors and
  a pedestal sink.

  Second Floor: There are 4 additional bedrooms on the second floor (5 in total) inclusive of a large master suite.
  The bedrooms have wood floors and pitched ceilings. 2 bedrooms share “jack-and-Jill” bathrooms in original
  condition and of average quality with tile counters and tile floors. The master bathroom has a corner jetted tub,
  separate shower, wood floors and tile counters. The master bedroom has a marble-trim fireplace, sitting area,
  walk-in closets and wood floors. Some of the bedrooms lead out to a balcony or exterior deck.

  Additional Features: Pool with waterfall spa, water feature, barbecue, Saltillo paver decking, lighted Tennis
  court, covered patio, coffered ceilings, marble trim fireplaces, pitched ceilings and insulated windows.

  Damage

  The improvements are damaged with observable cracks in the tile floors, cracks on the interior/exterior walls,
  ceiling damage, doors out-of-plumb and concrete patios separating from the main house. The total damage
  based on the report prepared by Desi Kepe indicates that the cosmetic and seismic upgrades recommended by
  Robert Mayer’s assessment are between $25,000 and $45,000.

  Extraordinary Assumption (defined)

  An assumption, directly related to a specific assignment, as of the effective date of the assignment results, which
  if found to be false, could alter the appraiser’s opinions and conclusions.

  Extraordinary assumptions presume as fact otherwise uncertain information about physical legal or economic
  characteristics of the subject property.

  Since the appraiser is not an acknowledged expert in slope failure, or the cost to repair damaged improvements,
  we have assumed the $25,000 to $45,000 figure is credible. Consistent with the use of an extraordinary
  assumption, if these figures are found to be false, this could alter or change my opinion

  Site Comments

  The subject site is a rectangular-shaped corner lot with 31,000 square foot size per the Los Angeles County
  Subdivision (Plat) Maps. The size is above average for the neighborhood although with partially downsloping
  topography which restricts the usable size to approximately 12,000 to 18,000 square feet. The usable size is an
  estimated based on personal inspection and Los Angeles County terrain maps.

  The site has a canyon / residential view from the backyard and more expansive panoramic view from the second
  floor bedroom and deck. There is no positive or negative affect due to the corner lot location as both streets are
  residential with minimal traffic. The zoning is consistent with the current use. We have not been provided with a
  detailed survey of the property or with title evidence that would indicate the presence of easements or restrictions
  to the property. No title report was reviewed for this study. All relevant characteristics are summarized directly
  on the body of the form.

  Highest and Best Use (HABU)

  The highest and best use of the subject analyzed “as vacant” and is based on its current zoning and surrounding
  properties.

  ZONING DATA

  Zoning information was derived from public records or other sources deemed reliable. The accuracy of the data,
  however, cannot be guaranteed.




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                                         SALES COMPARISON APPROACH

  Since not every subject can be compared to "ideal" comparable sales, the appraiser has chosen what are
  believed to be the best comparable sales available from a thorough and extensive search for comparable sales
  data in the subject's market. The sales selected for use in the analysis are considered to be the best indicators of
  value for the subject property. Other sales reviewed would have required excessive adjustments and were not
  considered to be as reliable as the sales chosen. Adjustments within the Sales Comparison Analysis are based
  on the market extraction method, generally employing the matched pair process, and not specifically based on
  cost figures.

  Comparable Selection

  The subject is a recently-built Mediterranean style property with good quality interior refinements and larger-than-
  average size. The location is in the hillsides above Ventura Blvd in a small planned development known as “the
  heights.” There are tight winding streets, sloping lots and varying degrees of mountain and City lights views. The
  selection of comparables focused on single family dwellings of similar age or quality due to remodeling. Primary
  adjustments reflect differences in views, location, lot size and size. These adjustments are applied as follows:

  Adjustments

      Size: In this report, we have utilized $150 per square foot to adjust for differences in the gross living
      area of the subject when compared to larger or smaller sales. When applicable, the adjustment includes
      differences in bedroom counts. Bathrooms adjusted separately at $10,000 per full.

      Views: The subject has a panoramic mountain/residential view off the back of the property. This is
      superior to properties without views Comparables with panoramic city lights views are considered
      superior especially during the evening hours. We have adjusted the comparables in steps of $100,000.
      This is typical for the neighborhood expressly at this price range.

      Condition: The subject has a maximum of $45,000 in damages. We have allocated a $50,000 cost to cure
      adjustment on each of the comparable sales to compensate.

      Location: The subject has a neutral location with residential traffic. Comparables on beneficial cul-de-sac
      streets are considered superior due to privacy. We have adjusted these properties modestly at $50,000.
      The adjustment is conservative due to the quiet residential location of the subject.

      Lot Size: Due to the subject’s partially sloping lot, small differences in lot sizes are not adjusted. SALE 4
      and LIST COMP 6 however have small backyards with less utility without the possibility of tennis courts
      or flat grass areas. LIST COMP 6 may not even have enough area for a pool. This limits marketability.
      Both properties are adjusted for inferior lot sizes. The remaining comparables are not adjusted.

      Time: Marketing conditions analysis indicates increasing values in the median price from the earliest
      period analyzed into the most recent. Adjustments for time applied at one-half percent per month on
      sales that closed over 4 months from the effective date. Based on this information, SALE 2 is adjusted
      for 9 months of increasing values (4.5%), while SALE 4 is adjusted for 7 months (3.5%). The oldest
      comparable selected as COMP 3 is adjusted 20%.

      Age: No actual age adjustments applied as the subject and comparables are analyzed based on effective
      age and condition rather than chronological age.

      Negotiation: The sale price listed for comparables #5 AND #6 is the listing prices, which have been adjusted
      down 5% for buyer/seller negotiations.




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  Comparable Sales Analysis

  SALE 1: Recent sale located in the same “Heights” submarket and with similar quality refinements including
  custom copper doors, 12" crown moulding trim, rosewood floors, high ceilings, recessed lighting, hidden
  elevator, crystal chandelier, coffered ceilings, granite counters, double Thermador oven w, central vacuum
  and built-in refrigerator. The location is on a beneficial cul-de-sac without through traffic and with a north-
  facing city lights view superior to the canyon view of the subject. The lot size is substantially larger and
  adding a tennis court similar to the subject would not be possible. Originally listed for $1,299,000 on
  05/20/2016 and reduced to $1,199,000 by 09/19/2016 resulting in a contract sale on 10/31/2016 after 182
  days exposure.

  SALE 2: Less recent sale located in the same Heights submarket. This is an inferior quality property with
  inferior vinyl windows, ceilings without crown trim, laminate kitchen cabinets, average quality appliances, tiled
  bathrooms and original doors/fixtures. There is no significant view. The location fronts to a beneficial cul-de-
  sac without through traffic. Originally listed for $1,150,000 on 02/17/2016 resulting in contract sale at list price
  on 03/01/2016 after 14 days exposure. MLS is reporting a longer exposure time incorrectly extending it to the
  close of escrow date.

  SALE 3: Dated comparable located in the same project. Woodland hills is a locational a sensitive area and
  selecting comparables in the same neighborhood as a better indicator of value, than selecting more recent
  sales in competing neighborhoods. The improvements have similar quality refinements that bracket the
  subject size. There is a custom French design and Superior City lights view. The lot is similar in usable lot
  size and with gated entry, circular drive and pool. The property was listed on 01/26/2015 resulting in a
  contract sale on 03/07/2015 after 40 days exposure.

  SALE 4: Recent sale located in a competing neighborhood. This is an older home in good condition with
  dark stained hardwood floors, crown moulding trim, recessed lighting and remodeled kitchen with granite
  counters, coffered ceilings, gloss-white cabinets and good quality appliances. The second floor has average
  quality carpet and original bathrooms however no adjustment is applied. The site as a possible view from the
  upstairs, beneficial cul-de-sac location and similar usable lot size. Listed for $1,345,000 on 04/09/2016
  resulting in a contract sale over the asking price on 04/22/23016 after 13 days exposure.

  COMP 5: Very good comparable due to recentness of sale date and similarity in interior refinements. The site
  is similar in usable size and with the same type of expansive backyard. There are new wood floors, high
  ceilings interior decorative columns, remodeled chef’s kitchen with Silestone counters, breakfast bar, Center
  Island, custom cabinets and similar gourmet (SS or Viking appliances). The bathrooms are slightly dated.
  Few adjustments warranted outside of the smaller size. Listed similar to the subject at $1,895,000 and
  reduced 4 times to $1,499,000 by 12/06/2016 before selling on 12/23/2016 after 216 days. The property has
  not yet closed escrow.

  COMP 6: No active listings in the same “Heights” submarket. We have selected this comparable since the
  property would compete for the same buyers due to the sloping topography, similar view more recently the
  improvements. There are no interior or exterior photographs uploaded on the MLS. Aerial photographs
  indicate limited utility and no room for a backyard pool or tennis court. This accounts for the draw large lot
  size adjustment applied. Listed for $1,800,000 on 06/18/2016 for a total of 199 days exposure. The property
  does not appear seriously listed and therefore a large 10% adjustment is applied for negotiation

  Reconciliation of Comparables Sales

  All comparables are located in the same old and hills market south of Ventura Blvd. This comparables are
  located in the same project. This is primarily true of sales one through three. Sale one is the most recent
  sale in the project although a smaller home with a superior view. SALE 3 brackets the property size
  supporting adjustments at $150 a square foot. Primary weight placed on these two sales. Secondary weight
  placed on sale two due to the smaller size and less recent sale date. Lesser weight placed on sale four due
  to the location outside the tract. Least weight placed on the active listings. To one pending sale has been
  used and supports the estimated value arrived at by all other comparables

                                               FINAL RECONCILIATION

  INCOME APPROACH: The subject is located in an owner occupied neighborhood and therefore the Income
  Approach is not developed. Purchasers are more concerned with amenities and features than with the income
  producing capabilities of the property. Most single-family dwellings are owner occupied, and therefore the
  Income Approach is unreliable in appraising detached homes within the market.

  The COST APPROACH is not developed. This is due to the lack of precision in estimating depreciation on older
  single-family dwellings and lack of land sales. This approach is best used on special purpose properties without
  resale activity. Based on the intended use of the appraisal, this approach is not necessary for credible
  assignment results.

  The SALES COMPARISON APPROACH is based upon recent sales within the same area as the subject. This
  approach is given the greatest weight in determining value as it best reflects the actions of Buyers and Sellers in
  the market

  Data Verification

  To the best of the appraisers knowledge, all comparable sales were sold with no special or creative financing or
  sales concessions. Closing cost paid by the sellers of the comparable properties is equivalent to typical financing
  terms offered by third party institutional lenders in the local market. In the appraiser's opinion, these sales
  represent typical market financing transactions. The sales prices are not considered to be inflated due to special
  or excessive financing concessions. The indicated values of the comparable sales reflect the value of the subject
  real estate and include only those sellers closing cost normally paid by tradition or law in the market area. Gross
  living areas shown for the comparable sales are estimates based on information from one or more of the
  following sources: Multiple Listing Service (MLS), county/city tax records, real estate agents, homeowners,
  builders, appraisers, interoffice data bank or actual measurements. Slight variations in size will have no effect on
  the estimate of value. All comparable sales are settled to the best of the appraiser's knowledge. Verification is
  with county records and/or Realtor.

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                                             DEFINITIONS AND DISCLOSURES

MARKET VALUE DEFINITION*

Market Value means the most probable price which a property should bring in a competitive and open market under all
conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price
is not affected by undue stimulus. Implicit in this definition are the consummation of a sale as of a specified date and the
passing of title from seller to buyer under conditions whereby:

(l)      Buyer and seller are typically motivated:
(2)      Both parties are well informed or well advised, and acting in what they consider their own best interests;
(3)      A reasonable time is allowed for exposure in the open market;
(4)      Payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
(5)      The price represents the normal consideration for the property sold unaffected by special or creative financing
         or sales concessions granted by anyone associated with the sale.

* The market value definition printed on this form and as used in this report is consistent with the Financial Institutions
Reform Recovery and Enforcement act (FIRREA) of 1989.

EXPOSURE TIME

According to the Uniform Standards of Professional Appraisal Practice, exposure time is defined as:

The estimated length of time the property interest being appraised would have been offered on the market prior to the
hypothetical consummation of a sale at market value on the effective date of the appraisal; a retrospective opinion
based on an analysis of past events assuming a competitive and open market.

The exposure time for the subject is approximately 4 to 6 months

PROPERTY RIGHTS

The property rights being appraised are Fee Simple. Fee Simple is defined as:

The maximum possible estate one can possess in Real property. A Fee Simple estate is the least limited interest and
the most complete and absolute ownership in land; it is of indefinite duration, freely transferable, and inequitable.

INTENDED USE / USER

The report is intended for use only by the client "Alana B. Anaya." Intended users may include opposing counsel,
and members of the court hearing the case. No other users are intended.

The intended use is for litigation purposes only in US Bankruptcy Court. The report is identified as an "Appraisal
Report" as per the Uniform Standards of Professional Appraisal Practice (USPAP) summarizing most of the
information developed.

FUNCTION OF THE APPRAISAL

The use of this report is to estimate the “as-is” market value of the real property interest as of a current effective date.

PRIOR SALE AND LISTING HISTORY

The subject was purchased for $600,000 on 07/24/2015 from an original asking price of $925,000 per ML#
314033389. The sale was a short pay purchased at auction (all cash). The property has an Interspousal Deed
Transfer for No $ amount on 11/20/2013.

APPRAISAL PROCEDURES – SCOPE OF WORK

The Sales Comparison Approach was exclusively used to conclude the value opinion. The cost and income
approaches were not considered since most buyers do not value a residential property by adding building and
land costs together or by the properties ability to generate income from rents. The appraiser has analyzed the
subject’s neighborhood, marketing conditions and highest and best use in preparation of the final value estimate.

CONDITION DISCLAIMER

This appraisal may note adverse conditions observed at the property at the time of inspection, may call out for further
inspections by experts in particular area, and/or may incorporate estimates for repairs into value estimates. However,
this report is not intended for use by the client specifically for the purpose of identifying any adverse conditions in the
subject's systems and components, which might be revealed by any inspections by licensed professionals in any
relevant field. Any adverse conditions noted are for the purpose of estimating their effect on subject value, and do not
in any way signify that this appraisal inspection is intended for use for the purpose of defect detection. This appraisal
does not guarantee that the subject property is free of undetected problems, possible defects or environmental
hazards that could exist, detection of which is beyond the scope of inspection of this appraisal.

MEASUREMENTS

The measurements and dwelling sketch supplied in the appraisal report are for appraiser purposes of comparison to
the comparable sales analyzed in the Sales Comparison Analysis. The supplied sketch is not an architectural
rendering of the subject dwelling and is not to be considered as such as the appraiser is not a licensed architect. The
Gross Living Area stated in this report may or may not agree with the Gross Living Area published by the tax
assessor, the MLS or the builder for the subject or for the comparable sales. Those stated square foot areas have no
bearing on the comparison/bracketing/delimiting of the value range analysis utilized in the Sales Comparison Analysis
of this appraisal report."




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                                                APPRAISAL CERTIFICATION

The Appraiser certifies and agrees that:

1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements
stated in this appraisal report.

2. I performed a complete visual inspection of the exterior areas of the subject property. I reported the condition of the
improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
livability, soundness, or structural integrity of the property.

3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that
were in place at the time this appraisal report was prepared.

4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison
approach for this appraisal assignment. I further certify that I considered the cost and income approaches to value but
did not develop them, unless otherwise indicated in this report.

5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any
offering for sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior
sales of the subject property for a minimum of three years prior to the effective date of this appraisal, unless
otherwise indicated in this report.

6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year
prior to the date of sale of the comparable sale, unless otherwise indicated in this report.

7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the
subject property.

8. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between
the subject property and the comparable sales.

9. I verified, from a disinterested source, all information in this report that was provided by parties who have a
financial interest in the sale or financing of the subject property.

10. I have knowledge and experience in appraising this type of property in this market area.

11. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as
multiple listing services, tax assessment records, public land records and other such data sources for the area in
which the property is located.

12. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal
report from reliable sources that I believe to be true and correct.

13. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood,
subject property, and the proximity of the subject property to adverse influences in the development of my opinion of
market value. I have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs,
deterioration, the presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed
during the inspection of the subject property or that I became aware of during the research involved in performing this
appraisal. I have considered these adverse conditions in my analysis of the property value, and have reported on the
effect of the conditions on the value and marketability of the subject property.

14. I have not knowingly withheld any significant information from this appraisal report and, to the best of my
knowledge, all statements and information in this appraisal report are true and correct.

15. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions,
which are subject only to the assumptions and limiting conditions in this appraisal report.

16. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially
or completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age,
marital status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject
property or of the present owners or occupants of the properties in the vicinity of the subject property or on any other
basis prohibited by law.

17. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis
supporting) a predetermined specific value, a predetermined minimum value, a range or direction in value, a value
that favors the cause of any party, or the attainment of a specific result or occurrence of a specific subsequent event.

18. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report.

19. I have performed professional services as an appraiser regarding the property that is the subject of this report
within the three-year period immediately preceding acceptance of this assignment.




Daniel R. Bone
State-Certified AR 009434
01/15/2017


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                EXHIBITS




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                                                                            FLOORPLAN SKETCH
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City: Woodland Hills                                                                                                   State: CA                            Zip: 91364




                                                                                             9'




                                                                                                           4.
                                                                                                              2'
                                                                                            Nook




                                                                                                                5.5'
                                                            25.5'                                                            20'


                                                     FAMILY                                                                 DINING
                                                                                 KITCHEN
                                                     ROOM                                                                    ROOM




                                                                     Wet
                                                      1/2
                                        38'




                                                                                                                                                 38'
                                              LAU
                                                                     Bar                                                                                             FIRST FLOOR
                                                                                                                            LIVING


                            GARAGE
    21'




                                                                                                                            ROOM

                                                      BEDROOM
                                              BATH
                                                                           DEN / OFFICE



                               30'                   16'                                                          30.5'
                                                              5.5'




                                                                                            5.5'




                                                                                                                                                     9'




                                                                                                                                                                 4.
                                                                                                                                                                   2'
                                                                5.




                                                                               6'
                                                                   7




                                                                                                                                     5.5'




                                                                                                                                                                       5.5'
                                                                      '




                                                                                                                25.5'                                                            20'
                                                                                                                                              BEDROOM
                                                                                            Tub
                                                                                                                                 BATH
                                                                                                      BATH
                                                                                                                                                                                BEDROOM




                                                                                                   CLST




                                                                                                                                                                                                38'
                                                                                     38'




                                                                                                                                                 Stairs                            BATH



                                                                                                                                                          12.5'
                                                                                                     BEDROOM
                                                        SECOND FLOOR
                                                                                                                                                                                BEDROOM
                                                                                                                                               15'




                                                                                                                                 Sitting


                                                                                                                                  Area
                                                                                                          16'                                                           30.5'
                                                                                                                   5.5'




                                                                                                                                                5.5'




                                                                                                                                                              Deck
                                                                                                                          5.




                                                                                                                                  6'
                                                                                                                            7'




   Sketch by Apex Sketch v5 Standard™

  Comments:




                            AREA CALCULATIONS SUMMARY                                                                             LIVING AREA BREAKDOWN
          Code          Description                           Net Size               Net Totals                                             Breakdown                               Subtotals
          GLA1          First Floor                         2534.50                       2534.50                  First Floor
          GLA2          Second Floor                        2534.50                                                            60.5                       x           38.0                2299.00
                        Open to Below                       -187.50                       2347.00                               5.5                       x           14.0                  77.00
          GAR           Garage                               630.00                        630.00                               5.5                       x           15.0                  82.50
                                                                                                                      0.5 x     4.0                       x            4.0                   8.00
                                                                                                                      0.5 x     3.0                       x            3.0                   4.50
                                                                                                                                6.0                       x            4.0                  24.00
                                                                                                                                9.0                       x            3.0                  27.00
                                                                                                                      0.5 x     4.0                       x            4.0                   8.00
                                                                                                                      0.5 x     3.0                       x            3.0                   4.50
                                                                                                                   Second Floor
                                                                                                                               15.0                       x            5.5                  82.50
                                                                                                                                5.5                       x           14.0                  77.00
                                                                                                                               38.0                       x           60.5                2299.00
                                                                                                                      0.5 x     3.0                       x            3.0                   4.50
                                                                                                                      0.5 x     4.0                       x            4.0                   8.00
                                                                                                                                9.0                       x            3.0                  27.00
                                                                                                                                6.0                       x            4.0                  24.00
                                                                                                                      0.5 x     3.0                       x            3.0                   4.50
                                                                                                                      0.5 x     4.0                       x            4.0                   8.00
                                                                                                                   Open to Below
                                                                                                                               15.0                       x           12.5                -187.50


                 Net LIVABLE Area                           (rounded)                       4882                   19 Items                                     (rounded)                   4882




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                                                   DIMENSION
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Property Address: 4705 Excelente Dr                                                                                           Case No.:
City: Woodland Hills                                                                                         State: CA                      Zip: 91364



                                          GROSS BUILDING AREA (GBA)                                                       4,882
                                          GROSS LIVING AREA (GLA)                                                         4,882
                                          Area(s)                                Area                     % of GLA      % of GBA

                                          Living                                        4,882                            100.00
                                          Level 1                                       2,535                51.93        51.93
                                          Level 2                                       2,347                48.07        48.07
                                          Level 3                                           0                 0.00         0.00
                                          Other                                             0                 0.00         0.00
                                                            GBA
                                          Basement                                           0
                                          Garage                                           630




                                Area Measurements                                                                       Area Type
                  Measurements                 Factor             Total                Level 1 Level 2 Level 3                Other   Bsmt.   Garage

                    38.00   x     60.50    x    1.00    =         2,299.00                  X
                    14.00   x      5.50    x    1.00    =            77.00                  X
                    15.00   x      5.50    x    1.00    =            82.50                  X
                     4.00   x      4.00    x    0.50    =             8.00                  X
                     3.00   x      3.00    x    0.50    =             4.50                  X
                     4.00   x      6.00    x    1.00    =            24.00                  X
                     3.00   x      9.00    x    1.00    =            27.00                  X
                     4.00   x      4.00    x    0.50    =             8.00                  X
                     3.00   x      3.00    x    0.50    =             4.50                  X
                     5.50   x     15.00    x    1.00    =            82.50                                   X
                    14.00   x      5.50    x    1.00    =            77.00                                   X
                    60.50   x     38.00    x    1.00    =         2,299.00                                   X
                     3.00   x      3.00    x    0.50    =             4.50                                   X
                     4.00   x      4.00    x    0.50    =             8.00                                   X
                     3.00   x      9.00    x    1.00    =            27.00                                   X
                     4.00   x      6.00    x    1.00    =            24.00                                   X
                     3.00   x      3.00    x    0.50    =             4.50                                   X
                     4.00   x      4.00    x    0.50    =             8.00                                   X
                    21.00   x     30.00    x    1.00    =           630.00                                                                      X
                    12.50   x     15.00    x    1.00    =           187.50                                   X
                            x              x            =
                            x              x            =
                            x              x            =
                            x              x            =
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4705 Excelente Dr, Woodland Hills,
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 Owner Information
 Owner Name:                                  Harutyunyan Anahit                            Tax Billing Zip:                              91364
 Tax Billing Address:                         4705 Excelente Dr                             Tax Billing Zip+4:                            4008
 Tax Billing City & State:                    Woodland Hills, CA                            Owner Occupied:                               Yes
 Location Information
 Zoning:                                      LARE40                                        Subdivision:                                  9098
 Waterfront Influence:                        Corner                                        Flood Zone Code:                              X
 Tract Number:                                9098                                          Flood Zone Panel:                             06037C1288F
 School District:                             Los Angeles                                   Flood Zone Date:                              09/26/2008
 Census Tract:                                1374.02
 Tax Information
 APN:                                         2076-009-031               Tax Area:                                                        37
 % Improved:                                  10%                        Lot #:                                                           209
 Legal Description:                           TRACT NO 9098 EX OF ST LOT 209

 Assessment & Tax
 Assessment Year                                           2016                                      2015                                      2014
 Assessed Value - Total                                    $600,000                                  $1,275,065                                $1,250,089
 Assessed Value - Land                                     $540,000                                  $701,820                                  $688,073
 Assessed Value - Improved                                 $60,000                                   $573,245                                  $562,016
 YOY Assessed Change (%)                                   -52.94%                                   2%
 YOY Assessed Change ($)                                   -$675,065                                 $24,976

 Tax Year                                      Total Tax                                     Change ($)                                    Change (%)
 2014                                          $15,871
 2015                                          $16,345                                       $475                                          2.99%
 2016                                          $7,764                                        -$8,582                                       -52.5%

 Special Assessment                                                                          Tax Amount
 Flood Control 62                                                                            $64.92
 Laco Vectr Cntrl80                                                                          $8.97
 City Lt Maint 21                                                                            $176.18
 County Park Dist21                                                                          $13.48
 Mrca Fire-Os #2 80                                                                          $19.00
 Lacity Park Dist21                                                                          $35.59
 Mrca Opnspace #280                                                                          $40.00
 Trauma/Emerg Srv86                                                                          $202.67
 La Stormwater 21                                                                            $51.75
 Total Of Special Assessments                                                                $612.56

 Characteristics
 County Land Use:                             Single Family Resid                           Full Baths:                                   4
 Universal Land Use:                          SFR                                           Half Baths:                                   MLS: 1
 Lot Acres:                                   0.7175                                        Heat Type:                                    Central
 Lot Area:                                    31,253                                        Cooling Type:                                 Central
 Lot Shape:                                   Irregular                                     Garage Capacity:                              MLS: 3
 Building Sq Ft:                              4,780                                         Pool:                                         Pool
 Stories:                                     MLS: 2                                        Year Built:                                   1989
 Total Units:                                 1                                             Effective Year Built:                         1989
 Bedrooms:                                    5                                             # of Buildings:                               1
 Total Baths:                                 Tax: 4 MLS: 5

 Estimated Value
 RealAVM™ (1):                                $832,457                                      Confidence Score (2):            74
 RealAVM™ Range:                              $707,588 - $957,326                           Forecast Standard Deviation (3): 15
 Value As Of:                                 12/23/2016
 (1) RealAVM™ is a CoreLogic® derived value and should not be used in lieu of an appraisal.
 (2) The Confidence Score is a measure of the extent to which sales data, property information, and comparable sales support the property valuation analysis process. The confidence
 score range is 60 - 100. Clear and consistent quality and quantity of data drive higher confidence scores while lower confidence scores indicate diversity in data, lower quality and
 quantity of data, and/or limited similarity of the subject property to comparable sales.
 (3) The FSD denotes confidence in an AVM estimate and uses a consistent scale and meaning to generate a standardized confidence metric. The FSD is a statistic that measures the
 likely range or dispersion an AVM estimate will fall within, based on the consistency of the information available to the AVM at the time of estimation. The FSD can be used to create
 confidence that the true value has a statistical degree of certainty.

 Listing Information
 MLS Listing Number:                          OC16105866                                    MLS Current List Price:                       $1,895,000
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                                                      AERIAL MAP
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                                      6279-D Variel Avenue * Woodland Hills, Ca. 91367
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                           APPRAISAL ADDENDUM




           Photograph

             Addendum




                                                            The Appraisal Place
                                SUBJECT
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                                                                                  FRONT VIEW OF
                                                                                  SUBJECT PROPERTY

                                                                                  Date: January 4, 2017
                                                                                  Appraised Value: $ 1,500,000




                                                                                   REAR VIEW OF
                                                                                   SUBJECT PROPERTY




                                                                                   STREET SCENE
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                     SIDE DOWNSLOPE                                                                    POOL / SPA / WATER FEATURE




                       TENNIS COURT                                                                            BARBECUE




                            VIEW                                                                                  VIEW

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                        FRONT VIEW                                                                           STREET VIEW




                       LIVING ROOM                                                                          DINING ROOM




                 LIVING ROOM TO FOYER                                                                        DEN / OFFICE

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                          WET BAR                                                                         FAMILY ROOM




                            NOOK                                                                             KITCHEN




                        BATHROOM                                                                            BEDROOM

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                     FOYER - MARBLE                                                                        HALF BATHROOM




                         BEDROOM                                                                              BEDROOM




                        BATHROOM                                                                       LANDING / OPEN TO BELOW

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                    MASTER BEDROOM                                                                      MASTER BATHROOM




              MASTER BEDROOM FIREPLACE                                                                       LANDING




                        BATHROOM                                                                            BEDROOM

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                 CONCRETE SEPARATION                                                                    MARBLE CRACKS




                     MARBLE CRACKS                                                                      COUNTER CRACKS




                       WALL CRACKS                                                                        WALL CRACKS

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                                      6279-D Variel Avenue * Woodland Hills, Ca. 91367
                               COMPARABLE
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                                                                                   COMPARABLE SALE #1


                                                                                   22541 Uhea Rd
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: 11/2016;10/2016
                                                                                   Sale Price: $ 1,170,000




                                                                                   COMPARABLE SALE #2


                                                                                   4808 Reforma Rd
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: 04/2016;03/2016
                                                                                   Sale Price: $ 1,150,000




                                                                                   COMPARABLE SALE #3


                                                                                   4801 Azucena Rd
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: 05/2015;03/2015
                                                                                   Sale Price: $ 1,552,500
                               COMPARABLE
            Case 1:16-ap-01091-MB  Doc 44 PROPERTY   PHOTO ADDENDUM
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Client: Alana B. Anaya             Main Document     Page  47 of 140 File No.: 559H4-Ana
Property Address: 4705 Excelente Dr                                    Case No.:
City: Woodland Hills                                       State: CA                Zip: 91364




                                                                                   COMPARABLE SALE #4


                                                                                   4424 Dulcinea Ct
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: 07/2016;05/2016
                                                                                   Sale Price: $ 1,350,000




                                                                                   COMPARABLE SALE #5


                                                                                   4800 Azucena Rd
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: 12/2016
                                                                                   Sale Price: $ 1,499,000




                                                                                   COMPARABLE SALE #6


                                                                                   5096 Llano Dr
                                                                                   Woodland Hills, Ca 91364
                                                                                   Sale Date: LISTING
                                                                                   Sale Price: $ 1,800,000
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    This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit; including a
    unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a manufactured home or a unit
    in a condominium or cooperative project.

    This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value, statement of
    assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended use, intended user,
    definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may expand the scope of work
    to include any additional research or analysis necessary based on the complexity of this appraisal assignment. Modifications or
    deletions to the certifications are also not permitted. However, additional certifications that do not constitute material alterations
    to this appraisal report, such as those required by law or those related to the appraiser’s continuing education or membership in an
    appraisal organization, are permitted.

    SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
    reporting requirements of this appraisal report form, including the following definition of market value, statement of assumptions
    and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual inspection of the
    interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the comparable sales from at
    least the street, (4) research, verify, and analyze data from reliable public and/or private sources, and (5) report his or her analysis,
    opinions, and conclusions in this appraisal report.

    INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the subject of
    this appraisal for litigation purposes.

    INTENDED USER: The intended user(s) of this appraisal report are identified on Page 1 of the form.

    DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market
    under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is
    not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of
    title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both parties are well informed
    or well advised, and each acting in what he or she considers his or her own best interest; (3) a reasonable time is allowed for
    exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms of financial arrangements
    comparable thereto; and (5) the price represents the normal consideration for the property sold unaffected by special or creative
    financing or sales concessions* granted by anyone associated with the sale.

    *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
    necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily
    identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing adjustments can be
    made to the comparable property by comparisons to financing terms offered by a third party institutional lender that is not already
    involved in the property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the
    financing or concession but the dollar amount of any adjustment should approximate the market's reaction to the financing or
    concessions based on the appraiser's judgment.

    STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser’s certification in this report is subject to the
    following assumptions and limiting conditions:

    1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
    to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
    appraiser assumes that the title is good and marketable and will not render any opinions about the title.

    2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements. The
    sketch is included only to assist the reader in visualizing the property and understanding the appraiser’s determination of its size.

    3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or
    other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an identified Special
    Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or implied, regarding this
    determination.

    4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
    unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

    5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the presence of
    hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or she became aware of
    during the research involved in performing this appraisal. Unless otherwise stated in this appraisal report, the appraiser has no
    knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the property (such as, but not limited to,
    needed repairs, deterioration, the presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) that
    would make the property less valuable, and has assumed that there are no such conditions and makes no guarantees or
    warranties, express or implied. The appraiser will not be responsible for any such conditions that do exist or for any engineering or
    testing that might be required to discover whether such conditions exist. Because the appraiser is not an expert in the field of
    environmental hazards, this appraisal report must not be considered as an environmental assessment of the property.

    6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
    completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will be
    performed in a professional manner.




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    APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:

    1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in this
    appraisal report.

    2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition of
    the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the livability,
    soundness, or structural integrity of the property.

    3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal Practice
    that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the
    time this appraisal report was prepared.

    4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales comparison
    approach to value. I have adequate comparable market data to develop a reliable sales comparison approach for this appraisal
    assignment. I further certify that I considered the cost and income approaches to value but did not develop them, unless otherwise
    indicated in this report.

    5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for sale
    of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject property
    for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

    6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior to the
    date of sale of the comparable sale, unless otherwise indicated in this report.

    7.     I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

    8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home
    that has been built or will be built on the land.

    9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
    property and the comparable sales.

    10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
    the sale or financing of the subject property.

    11. I have knowledge and experience in appraising this type of property in this market area.

    12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
    services, tax assessment records, public land records and other such data sources for the area in which the property is located.

    13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
    reliable sources that I believe to be true and correct.

    14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
    property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I have
    noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the presence of
    hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the subject property
    or that I became aware of during the research involved in performing this appraisal. I have considered these adverse conditions in
    my analysis of the property value, and have reported on the effect of the conditions on the value and marketability of the subject
    property.

    15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
    statements and information in this appraisal report are true and correct.

    16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which are
    subject only to the assumptions and limiting conditions in this appraisal report.

    17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or prospective
    personal interest or bias with respect to the participants in the transaction. I did not base, either partially or completely, my
    analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital status, handicap,
    familial status, or national origin of either the prospective owners or occupants of the subject property or of the present owners or
    occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

    18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not conditioned
    on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a predetermined
    specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of any party, or the
    attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending mortgage loan
    application).

    19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I relied on
    significant real property appraisal assistance from any individual or individuals in the performance of this appraisal or the
    preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this appraisal
    report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make a change to
    any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no responsibility for it.

    20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that ordered
    and will receive this appraisal report.

    21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the borrower;
    the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other secondary market
    participants; data collection or reporting services; professional appraisal organizations; any department, agency, or instrumentality
    of the United States; and any state, the District of Columbia, or other jurisdictions; without having to obtain the appraiser’s or
    supervisory appraiser’s (if applicable) consent. Such consent must be obtained before this appraisal report may be disclosed or
    distributed to any other party (including, but not limited to, the public through advertising, public relations, news, sales, or other
    media).
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    22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain laws
    and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice that
    pertain to disclosure or distribution by me.

    23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage insurers,
    government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part of any
    mortgage finance transaction that involves any one or more of these parties.

    24. If this appraisal report was transmitted as an “electronic record” containing my “electronic signature,” as those terms are
    defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal
    report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a
    paper version of this appraisal report were delivered containing my original hand written signature.

    25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or criminal
    penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States Code, Section
    1001, et seq., or similar state laws.

    26.I have performed no services as an appraiser or in any other capacity regarding the property that is the subject of this report
    within the three-year period immediately preceding acceptance of this assignment.



    SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

    1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser’s
    analysis, opinions, statements, conclusions, and the appraiser’s certification.

    2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser’s analysis,
    opinions, statements, conclusions, and the appraiser’s certification.

    3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
    appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

    4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
    promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
    report was prepared.

    5. If this appraisal report was transmitted as an “electronic record” containing my “electronic signature,” as those terms are
    defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal
    report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a
    paper version of this appraisal report were delivered containing my original hand written signature.




    APPRAISER                                                                               SUPERVISORY APPRAISER (ONLY IF REQUIRED)


    Signature                                                                               Signature
    Name Daniel R. Bone                                                                     Name
    Company Name The Appraisal Place                                                        Company Name
    Company Address 6279-D Variel Ave                                                       Company Address
    Woodland Hills, CA 91367
    Telephone Number 818-715-0943                                                           Telephone Number
    Email Address tap95@pacbell.net                                                         Email Address
    Date of Signature and Report 01/15/2017                                                 Date of Signature
    Effective Date of Appraisal 01/04/2017                                                  State Certification #
    State Certification # AR009434                                                          or State License #
    or State License #                                                                      State
    or Other (describe)                    State #                                          Expiration Date of Certification or License
    State CA
    Expiration Date of Certification or License 09/22/2018

    ADDRESS OF PROPERTY APPRAISED                                                           SUBJECT PROPERTY
    4705 Excelente Dr                                                                         Did not inspect subject property
    Woodland Hills, Ca. 91367                                                                 Did inspect exterior of subject property from street
                                                                                              Date of Inspection
    APPRAISED VALUE OF SUBJECT PROPERTY $ 1,500,000                                           Did inspect interior and exterior of subject property
                                                                                              Date of Inspection
    LENDER/CLIENT
    Name N/A                                                                                COMPARABLE SALES
    Company Name N/A                                                                          Did not inspect exterior of comparable sales from street
    Company Address N/A                                                                       Did inspect exterior of comparable sales from street
    N/A                                                                                       Date of Inspection
    Email Address

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          Exhibit "A"
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                                      RMSE
                  Robert N{aver Str uctur al E ngin eer
                 14402HaynesStreet,Suite #202,Van Nuys, CA 91401
                                         Fax (818)-989-9016
                      Tel. (818)-989-9002,



STR UCT URA L                     E N GIN EE R IN G                   R E POR T

Date:     1-6-2017

To:       AlanaAnaia                                           tel.:805-230-9222
          Lawgroup

Re:       4705ExcellenteDrive
          WoodlandHills,CA 91364

General:The purposeof this reportis to confirmthe conditionof the residence.
                                perATC-20(Applied
Observationtype: Visualinspection               Technology
                                                         Council).


Obseruations:

1.    The houseis a two story,slabon grade,residence
                                                   typeV construction..
2.      lt wasbuifiin 1989beforethe 1994Northridge
                                                 Earthquake.
3.    The housein generalis goodcondition.
4.    Thefirstfloorcoveredwith marblefinishshowscosmeticcracksthroughoutthe first
      floor.
5.                                       at doorsandwindowcorners.Someof this
      Thewallsshowseismiccracksoriginating
      cracksare patched.
6.    Somecrackswerenotedunderthe roofhips
7.    NW wallshearcrackis noticedat pavemenUwall
                                             base..
8.                 and guttersthe paintingis peelingoff.
      The downspouts
9.    At the entrancenearthe stairsthe flooris damagedand cracked.
              poolshowswaterat a higherlevelon onesideanda lowerlevelon the
10. Theswimming
      otherside(closeto the slope).

Conclusions:

  1. The housein generalis goodcondition.
                                withnewshearwalldesignanddetails.
 2. A seismicupgradeis recommended
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  3. Thewallshaveto be re-finished.
                                  Existingsignsof cracksshallbe removed.
  4. Thefloormarblesmayberemovedandthe damagedfloorfinishesshallbe repaced.
                  and guttersshallbe repainted.
  5. The downspouts
  6. The damagedfloorat the entrycloseto the stairsshallbe repaired.
  7. The crackat the baseof the N-Wwallshallbe cleaned.



lf thereare anyadditional      pleasedon'thesitate
                       questions                 to contactme at (818)-989-9002.




RobertMayerP.E.,S.E.
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                              DECLARATION OF JONATHAN MALEK
  1

  2          I, JONATHAN MALEK, do declare and state as follows:
  3          1. I am an attorney at law, duly license to practice law in all courts in the State of
  4   California. I have personal knowledge of the facts stated herein, if called upon, I could and
  5   would testify competently thereto.
  6          2.     In the state court action, my office propounded form interrogatories on Defendant
  7   HARUTYUNYAN . Attached hereto as Exhibit “A” are true and correct copies of the form
  8   interrogatories and the response thereto.
  9          3.       Our office also obtained a copy of the Deposition Transcript of ANAHIT
 10   HARUTYUNYAN, which was taken in the matter of Savadian v. Martirosian. True and
 11   correct portions of the deposition transcript are attached hereto as Exhibit “B”.
 12          4.       On January 17, 2017, I conducted a google search of 4705 Excellente and
 13   could not find any websites detailing the alleged damage to the property. A true and correct
 14   copy of the results are attached hereto as Exhibit “C” and printouts from various websites are
 15   attached hereto as Exhibit “D”
 16          5.       A google images overview of the property demonstrates that there are no
 17   neighbors behind the pool area. A true and correct copy of the printout from google maps is
 18   attached hereto as Exhibit “E”
 19          6.       Attached hereto as Exhibit “F” is a true and correct copy of Debtors Schedule
 20   “A” filed in the underlying bankruptcy.
 21          7.       Attached hereto as Exhibit “G” are true and correct copies of the excerpts of
 22   the testimony of Jamal Dawood from the December 27, 2016, hearing.
 23          8.       Attached hereto as Exhibit “H” are true and correct copies of excerpts from the
 24   courts oral ruling at the December 27, 2016, hearing.
 25          9.       Attached hereto as Exhibit “I”, a copies of DWP statement provided by
 26   counsel for HARUTYUNYAN, indicating that she was receiving utilities at the property at issue
 27   on a low income discount and copies of the income qualification requirements for the low
 28   income discount.


                                                                                                      14
                  PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
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  1          10.     Attached hereto as Exhibit “J” is a copy of the docket in bankruptcy case no.

  2   2:16-bk-26852-DS filed by HARUTYUNYAN.

  3          I declare under penalty of perjury under the laws of the United States of America that

  4   the foregoing is true and correct.

  5          Executed this 23th day of January, 2017 in Westlake Village, California.

  6
                                                         _/s/JONATHAN MALEK___________
  7                                                      JONATHAN MALEK
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                PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
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          Exhibit "A"
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          Exhibit "C"
4705 Excelente Drive, CA - Google Search                                                     https://www.google.com/#q=4705+Excelente+Drive,+CA&safe=off&start=0
                Case 1:16-ap-01091-MB                        Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                              Desc
                                                             Main Document   Page 91 of 140



                           All     Maps       Images        Shopping       News       More                        Settings     Tools


                           About 2,760,000 results (0.51 seconds)




                           4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 ...
                           https://www.redfin.com › California › Los Angeles › Woodland Hills
                           5 bed, 4 bath, 4780 sq. ft. house located at 4705 Excelente Dr, Woodland Hills, CA 91364 sold for
                           $600000 on Jul 24, 2015. MLS# 314033389. Entertainer's ...


                           4705 Excelente Dr, Woodland Hills, CA 91364 | Zillow
                           www.zillow.com › California › Los Angeles › 91364 › Woodland Hills
                           View 23 photos of this 5 bed, 5.0 bath, 4780 sqft Single Family that sold on 7/24/15 for $600000.
                           Luxurious estate, situated over a 31000 sq. ft lot i...
                           You visited this page on 1/13/17.


                           4705 Excelente Dr, Woodland Hills, CA 91364 - realtor.com®
                           www.realtor.com › California › Los Angeles County › Woodland Hills › Excelente Dr
                           $672,155.00
                           Nov 23, 2016 - Visit property details for 4705 Excelente Dr, Woodland Hills, CA 91364 a single family
                           home is 4780 square foot home with 5 beds & 5 baths.


                           4705 Excelente Drive, Woodland Hills, CA 91364 - MLS 314033389 ...
                           https://www.coldwellbankerhomes.com › ... › Woodland Hills Home Sales
                           $600,000.00
                           Nov 14, 2014 - Sold - 4705 Excelente Drive, Woodland Hills, CA - $600000. View details, map and
                           photos of this single family property with 5 bedrooms and 4 ...


                           4705 Excelente Dr, Woodland Hills, CA 91364 | Trulia
                           https://www.trulia.com/.../3169000329-4705-Excelente-Dr-Woodland-Hills-CA-9136...
                           4705 Excelente Dr Woodland Hills, CA 91364 (Woodland Hills). See your commute times. Single-
                           Family Home; 5 Bedrooms; 4 full Bathrooms; 4,780 sqft ...


                           4705 Excelente Drive, Woodland Hills, CA, 91364 - Estately
                           www.estately.com › California › Los Angeles › South Valley
                           4705 Excelente Drive Woodland Hills, CA 91364 — Los Angeles County. Report a problem. Delisted
                           house. This property was delisted 2 months ago and is no ...


                           4705 Excelente Drive, Woodland Hills, CA | Dilbeck Real Estate
                           dilbeck.com/listings/CA/Woodland-Hills/91364/16116125/4705-Excelente-Drive/
                           May 18, 2016 - Property Description. Luxurious estate, situated over a 31,000 sq. ft lot in "The Heights"
                           located South of the Blvd. Grand entrance marble foyer ...


                           4705 Excelente Drive, Woodland Hills, CA 91364 - Open Listings
                           https://www.openlistings.com › Los Angeles County › Los Angeles › Woodland Hills
                           Get a 50% commission refund buying this 5 bed, 4.5 bath, 4780 sq ft home at 4705 Excelente Drive,
                           Woodland Hills, CA 91364.




1 of 2                                                                                                                                         1/17/2017 2:27 PM
4705 Excelente Drive, CA - Google Search                                                 https://www.google.com/#q=4705+Excelente+Drive,+CA&safe=off&start=0
                Case 1:16-ap-01091-MB                      Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                            Desc
                                                           Main Document   Page 92 of 140
                           4705 Excelente Dr Woodland Hills, CA 91364 - HotPads
                           https://hotpads.com › CA › Los Angeles › Glenview
                           Home for Sale at 4705 Excelente Drive: 5 beds, $1.9m. Map it and view 23 photos and details on
                           HotPads.


                           4705 Excelente Drive, Woodland Hills, CA 91364 | Homesnap
                           www.homesnap.com/CA/Woodland-Hills/4705-Excelente-Drive
                           4705 Excelente Drive is worth about $1772500 and is located in Woodland Hills, CA. This home has 5
                           bedrooms, 4 bathrooms, and approximately 4780 sqft of ...




                                                            2 3 4 5 6 7 8 9 10                    Next




                             Thousand Oaks, CA - From your phone (Location History) - Use precise location - Learn more

                           Help     Send feedback       Privacy     Terms




2 of 2                                                                                                                                     1/17/2017 2:27 PM
Case 1:16-ap-01091-MB   Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33   Desc
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          Exhibit "D"
4705 Excelente Dr, Woodland Hills, CA 91364 | Zillow             http://www.zillow.com/homedetails/4705-Excelente-Dr-Woodland-Hills...
                Case 1:16-ap-01091-MB            Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33              Desc
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1 of 3                                                                                                             1/17/2017 2:39 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | Zillow             http://www.zillow.com/homedetails/4705-Excelente-Dr-Woodland-Hills...
                Case 1:16-ap-01091-MB            Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33              Desc
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2 of 3                                                                                                             1/17/2017 2:39 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | Zillow             http://www.zillow.com/homedetails/4705-Excelente-Dr-Woodland-Hills...
                Case 1:16-ap-01091-MB            Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33              Desc
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3 of 3                                                                                                             1/17/2017 2:39 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                      Desc
                                                Main Document   Page 97 of 140
                                                                                                  Buy ▾   Sell ▾   Real Estate Agents




1 of 9                                                                                                                     1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB                      Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                             Desc
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                                       SOLD 11/18/16                                        SOLD 12/21/16




                                    $1,170,000                 5     4.5 3,258           $1,137,000              4      3     3,706
                                22541 Uhea Rd                 Beds   Baths Sq. Ft.   22760 Avenue San Luis      Beds   Baths Sq. Ft.
                                Woodland Hills, CA 91364                             Woodland Hills, CA 91364




2 of 9                                                                                                                                    1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                    Desc
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3 of 9                                                                                                                  1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                    Desc
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4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                    Desc
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4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
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           We were up against multiple offers but because of having no loan or appraisal
           contingency (all cash offer) as well as having the highest offered price, we were
           able to have the winning offer.




           Multiple offer situation; we were 1st back up as we did not want to purchase the
           additional lot. But, we found another home in Oak Park and got our offer accepted!




6 of 9                                                                                                                  1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB                Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33               Desc
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           Our clients made a strong offer on this property which had multiple offer and
           another offer was accepted.




           Our clients had just put their condo in escrow and were looking for a larger single
           family room. We wrote a strong offer, had a great lender, and a great buyer in
           escrow - putting it all together, and narrowing our inspection timelines allowed us
           to seal the deal.




           We were in a multiple offer situation but ultimately we were able to have the
           winning offer by providing all the necessary documents to the sellers to assure a
           smooth transaction.




7 of 9                                                                                                                  1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                   Case 1:16-ap-01091-MB                     Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                                            Desc
                                                            Main Document    Page 104 of 140
          ACCEPTING BACKUP OFFERS
                                                  1.0                                                         0.2                                                0.6
                                                   mi.                                                         mi.                                               mi.




              $1,225,000              4      6     4,264          $949,000                       4       3     2,788        $1,199,000              4     2.5 2,304
          4630 Esparto St            Beds   Baths Sq. Ft.     4830 Regalo Rd                   Beds     Baths Sq. Ft.   4841 Bruges Ave            Beds   Baths Sq. Ft.
          Woodland Hills, CA 91364                            Woodland Hills, CA 91364                                  Woodland Hills, CA 91364




                                                  0.9                                                         1.1                                                0.6
                                                   mi.                                                         mi.                                               mi.




              $895,000                3     2.5 3,000             $1,295,000                     6      3.5 2,852           $700,000                3      2     1,542
          22269 Cass Ave             Beds   Baths Sq. Ft.     21775 Woodland Crest…            Beds     Baths Sq. Ft.   5041 Calderon Rd           Beds   Baths Sq. Ft.
          Woodland Hills, CA 91364                            Woodland Hills, CA 91364                                  Woodland Hills, CA 91364



          SOLD 12/13/16                                       SOLD 05/01/10                                             SOLD 09/02/16
                                                  0.9                                                         0.9                                                1.3
                                                   mi.                          Sign In to See Photos          mi.                                               mi.




              $980,400                5      3     2,870          Sign in for price              5       4     3,189        $880,000                5     4.5 3,734
          4821 Abbeyville Ave        Beds   Baths Sq. Ft.     22045 De La Guerra St            Beds     Baths Sq. Ft.   21323 Dumetz Rd            Beds   Baths Sq. Ft.
          Woodland Hills, CA 91364                            Los Angeles, CA 91364                                     Woodland Hills, CA 91364



          SOLD 09/13/16                                       SOLD 07/19/16                                             SOLD 12/21/16
                                                  1.0                                                         0.3                                                0.7
                                                   mi.                                                         mi.                                               mi.




              $730,000                4     3.5 3,100             $950,000                       3       3     2,955        $1,137,000              4      3     3,706
          4999 Medina Rd             Beds   Baths Sq. Ft.     4630 Blackfriar Rd               Beds     Baths Sq. Ft.   22760 Avenue San Luis      Beds   Baths Sq. Ft.
          Woodland Hills, CA 91364                            Woodland Hills, CA 91364                                  Woodland Hills, CA 91364




8 of 9                                                                                                                                                         1/17/2017 2:32 PM
4705 Excelente Dr, Woodland Hills, CA 91364 | MLS# 314033389 | Redfin https://www.redfin.com/CA/Los-Angeles/4705-Excelente-Dr-91364/hom...
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                    Desc
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          Exhibit "E"
4705 Excelente Dr - Google Maps                         https://www.google.com/maps/place/4705+Excelente+Dr,+Woodland+Hi...
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           Exhibit "F"
               Case
               Case 1:16-ap-01091-MB
                    1:15-bk-11139-MB                             Doc 19
                                                                 Doc 44 Filed
                                                                         Filed 04/10/15
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B6A (Official Form 6A) (12/07)


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  In re         Shahen Martirosyan                                                                            Case No.    1:15-bk-11139
                                                                                                  ,
                                                                                    Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                      Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

4705 Excelente Drive                                                     Fee simple                   -                  700,000.00            2,093,663.36
Woodland Hills, Ca. 91364




                                                                                                  Sub-Total >            700,000.00        (Total of this page)

                                                                                                          Total >        700,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
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          Exhibit "G"
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          Exhibit "H"
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            Exhibit "I"
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Discount Rates                                                                                    https://www.ladwp.com/ladwp/faces/ladwp/residential/r-financialassistan...
                   Case 1:16-ap-01091-MB                           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33                                                 Desc
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                                                                            LADWP Home News & Media Outage Information Careers About Us Español


                                                                                                                     1-800-DIAL DWP (1-800-342-5397)



          LADWP > Residential > Financial Assistance > Discount Rates


              Financial Assistance

                 Payment Arrangements
                                                  Discount Rates

                                                                                                                                       Do you qualify for financial
                 Discount Rates                                                                                                        assistance?
                 Assistance Programs
                                                                                                                                       Fill out our Financial Assistance
                                                                                                                                       Qualification form to see which
                                                                                                                                       programs you qualify for.

                                                                                                                                       Go to the form




                                                                                                                                       Low Income Discount
                                                                                                                                       Program Video

                                                   LADWP offers discount rate programs to make water and electricity more              Interested in obtaining more
                                                   affordable for qualifying families who are experiencing difficulties paying their   information on the Low Income
                                                   bills.                                                                              Discount Program?

                                                                                                                                           Watch our Low Income
                                                          Low Income Discount Program
                                                                                                                                       Discount Program Video

                                                     If your income and household size qualify for this rate, the LADWP will
                                                     apply a discount to your electric and/or water bill. For your convenience,
                                                     you may download, print, and mail in a paper application form.

                                                     Low Income Discount Program Application            (online)

                                                        Low Income Discount Program Application (PDF)

                                                     To submit Proof of Income documentation separately from the
                                                     application, please print the Cover Sheet below, fill in all of
                                                     the information, attach your proof of income documentation, and send
                                                     the Cover Sheet with the documentation to the address or fax number
                                                     noted below.

                                                        Low Income Discount Program Cover Sheet

                                                     Household Income Requirements
                                                         Members in Household             Maximum Annual Gross Income*
                                                                        1                              $32,040
                                                                        2                              $32,040
                                                                        3                              $40,320
                                                                        4                              $48,600
                                                                        5                              $56,880
                                                                        6                              $65,160
                                                                        7                              $73,460
                                                                        8                              $81,780
                                                       Each additional member:                  Add $8,320 to income

                                                     *Effective July 1, 2016

                                                     Verification Policy

                                                     Customers participating in this program will be required to verify and
                                                     declare their eligibility on a recurring basis. Customers who do not
                                                     provide proof of income, or households not meeting the eligibility
                                                     guidelines, will not be eligible for the program or for renewal.

                                                     Program Mailing Address and Fax Number




1 of 2                                                                                                                                                                     1/23/2017 4:45 PM
Discount Rates                                                                     https://www.ladwp.com/ladwp/faces/ladwp/residential/r-financialassistan...
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                                  Los Angeles Department of Water and Power
                                  LIDP, Room L63
                                  PO Box 515407
                                  Los Angeles, CA 90051-6707
                                  Fax: (213) 241-1465

                                  Contact Us

                                         Call us at 1-800-DIAL-DWP (1-800-342-5397)
                                         Hearing impaired with a Teletype device (TDD) may call
                                         1-800-HEAR-DWP (1-800-432-7397)
                                         Send us an email



                                      Senior Citizen / Disability Lifeline Rate

                                      Life-Support Equipment Discount

                                      Physician Certified Allowance Discount


                                                Download Adobe Acrobat Reader




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            Exhibit "J"
CM/ECF - U.S. Bankruptcy Court (v5.1 - LIVE)                      https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?475336451767477-L_1_0-1
                Case 1:16-ap-01091-MB           Doc 44 Filed 01/23/17 Entered 01/23/17 18:32:33 Desc
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                                                                                     Incomplete, DISMISSED


                                                 U.S. Bankruptcy Court
                                        Central District of California (Los Angeles)
                                         Bankruptcy Petition #: 2:16-bk-26852-DS
                                                                                               Date filed:      12/27/2016
         Assigned to: Deborah J. Saltzman                                              Debtor dismissed:        01/13/2017
         Chapter 7                                                                           341 meeting:       02/07/2017
         Voluntary                                                   Deadline for objecting to discharge:       04/10/2017
         No asset                                                    Deadline for financial mgmt. course:       04/10/2017


         Debtor disposition: Dismissed for Failure to File
         Information

         Debtor                                                           represented by Steven M Gluck
         Anahit Harutyunyan                                                              1313 Post Ave
         1815 No Normandy #12                                                            Torrance, CA 90501
         Los Angeles, CA 90027                                                           818-887-8205
         LOS ANGELES-CA                                                                  Email: sgluck@juno.com
         SSN / ITIN: xxx-xx-1859

         Trustee
         Jason M Rund (TR)
         Sheridan & Rund
         840 Apollo Street, Suite 351
         El Segundo, CA 90245
         (310) 640-1200

         U.S. Trustee
         United States Trustee (LA)
         915 Wilshire Blvd, Suite 1850
         Los Angeles, CA 90017
         (213) 894-6811


           Filing Date                    #                                         Docket Text

                                         1                 Chapter 7 Voluntary Petition for Individuals . Fee Amount
                                         (9 pgs; 2 docs)   $335 Filed by Anahit Harutyunyan Statement of Intention for
                                                           Individuals Filing Under Chapter 7 (Form 108) due
                                                           01/26/2017. Summary of Assets and Liabilities (Form
                                                           106Sum or 206Sum ) due 01/10/2017. Schedule A/B:
                                                           Property (Form 106A/B or 206A/B) due 01/10/2017.
                                                           Schedule C: The Property You Claim as Exempt (Form 106C)
          12/27/2016


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                                                        due 01/10/2017. Schedule D: Creditors Who Have Claims
                                                        Secured by Property (Form 106D or 206D) due 01/10/2017.
                                                        Schedule E/F: Creditors Who Have Unsecured Claims (Form
                                                        106E/F or 206E/F) due 01/10/2017. Schedule G: Executory
                                                        Contracts and Unexpired Leases (Form 106G or 206G) due
                                                        01/10/2017. Schedule H: Your Codebtors (Form 106H or
                                                        206H) due 01/10/2017. Schedule I: Your Income (Form 106I)
                                                        due 01/10/2017. Schedule J: Your Expenses (Form 106J) due
                                                        01/10/2017. Declaration About an Individual Debtors
                                                        Schedules (Form 106Dec) due 01/10/2017. Declaration
                                                        Under Penalty of Perjury for Non-Individual Debtors (Form
                                                        202) due 01/10/2017. Statement of Financial Affairs (Form
                                                        107 or 207) due 01/10/2017. Chapter 7 Statement of Your
                                                        Current Monthly Income (Form 122A-1) Due: 01/10/2017.
                                                        Statement of Exemption from Presumption of Abuse (Form
                                                        122A-1Supp) Due: 01/10/2017. Chapter 7 Means Test
                                                        Calculation (Form 122A-2) Due: 01/10/2017. Incomplete
                                                        Filings due by 01/10/2017. (Gluck, Steven) WARNING: Item
                                                        subsequently amended to include deficiency for Declaration
                                                        of Debtor Employment Income Due: 01/10/2017 and
                                                        Verification of List of Creditor Matrix Due: 01/10/2017.
                                                        Incomplete Filings due by 01/10/2017. Modified on
                                                        12/28/2016 (Lewis, Litaun). (Entered: 12/27/2016)

                                         2              Certificate of Credit Counseling Filed by Debtor Anahit
          12/27/2016                     (1 pg)         Harutyunyan. (Gluck, Steven) (Entered: 12/27/2016)

                                         3              Electronic Filing Declaration (LBR Form F1002-1) Filed by
                                         (1 pg)         Debtor Anahit Harutyunyan. (Gluck, Steven) (Entered:
          12/27/2016                                    12/27/2016)

                                         4              Statement About Your Social Security Number (Official
                                                        Form 121) Filed by Debtor Anahit Harutyunyan. (Gluck,
          12/27/2016                                    Steven) (Entered: 12/27/2016)

                                         6              Meeting of Creditors with 341(a) meeting to be held on
                                         (3 pgs)        02/07/2017 at 09:00 AM at RM 2, 915 Wilshire Blvd., 10th
                                                        Floor, Los Angeles, CA 90017. Objections to Discharge due
                                                        by 04/10/2017. Cert. of Financial Management due by
                                                        04/10/2017 for Debtor and Joint Debtor (if joint case). Proof
                                                        of Claim due by 05/08/2017. (Gluck, Steven) (Entered:
          12/27/2016                                    12/27/2016)

                                                        Receipt of Voluntary Petition (Chapter 7)(2:16-bk-26852)
                                                        [misc,volp7] ( 335.00) Filing Fee. Receipt number 43943110.
                                                        Fee amount 335.00. (re: Doc# 1) (U.S. Treasury) (Entered:
          12/27/2016


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                                         5              Notice of Dismissal of Case If Required Documents Are Not
                                         (1 pg)         Filed Within 72 Hours (BNC) . (Lewis, Litaun) (Entered:
          12/27/2016                                    12/28/2016)

                                                        Set Case Commencement Deficiency Deadlines (ccdn) (RE:
                                                        related document(s)1 Voluntary Petition (Chapter 7) filed by
                                                        Debtor Anahit Harutyunyan) Declaration by Debtors as to
                                                        Whether Income was Received from an Employer within
                                                        60-Days of the Petition Date (LBR Form F1002-1) due by
                                                        1/10/2017. Verification of Master Mailing List of Creditors
                                                        (LBR Form F1007-1) due 1/10/2017. (Lewis, Litaun)
          12/27/2016                                    (Entered: 12/28/2016)

                                         7              ORDER to comply with bankruptcy rule 1007/3015(b) and
                                         (1 pg)         notice of intent to dismiss case re: deficient document
                                                        Statement of Intention for Individuals Filing Under Chapter 7
                                                        (Form 108) due 01/26/2017. Summary of Assets and
                                                        Liabilities (Form 106Sum or 206Sum ) due 01/10/2017.
                                                        Schedule A/B: Property (Form 106A/B or 206A/B) due
                                                        01/10/2017. Schedule C: The Property You Claim as Exempt
                                                        (Form 106C) due 01/10/2017. Schedule D: Creditors Who
                                                        Have Claims Secured by Property (Form 106D or 206D) due
                                                        01/10/2017. Schedule E/F: Creditors Who Have Unsecured
                                                        Claims (Form 106E/F or 206E/F) due 01/10/2017. Schedule
                                                        G: Executory Contracts and Unexpired Leases (Form 106G
                                                        or 206G) due 01/10/2017. Schedule H: Your Codebtors (Form
                                                        106H or 206H) due 01/10/2017. Schedule I: Your Income
                                                        (Form 106I) due 01/10/2017. Schedule J: Your Expenses
                                                        (Form 106J) due 01/10/2017. Declaration About an
                                                        Individual Debtors Schedules (Form 106Dec) due
                                                        01/10/2017. Declaration Under Penalty of Perjury for
                                                        Non-Individual Debtors (Form 202) due 01/10/2017.
                                                        Statement of Financial Affairs (Form 107 or 207) due
                                                        01/10/2017. Chapter 7 Statement of Your Current Monthly
                                                        Income (Form 122A-1) Due: 01/10/2017. Statement of
                                                        Exemption from Presumption of Abuse (Form 122A-1Supp)
                                                        Due: 01/10/2017. Chapter 7 Means Test Calculation (Form
                                                        122A-2) Due: 01/10/2017. Incomplete Filings due by
                                                        01/10/2017. (Gluck, Steven) WARNING: Item subsequently
                                                        amended to include deficiency for Declaration of Debtor
                                                        Employment Income Due: 01/10/2017 and Verification of
                                                        List of Creditor Matrix Due: 01/10/2017. Incomplete Filings
                                                        due by 01/10/2017(BNC) (RE: related document(s)1
                                                        Voluntary Petition (Chapter 7) filed by Debtor Anahit
          12/27/2016


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                                                        Harutyunyan) (Lewis, Litaun) (Entered: 12/28/2016)

                                         8              Declaration by Debtor as to Whether Debtor(s) Received
                                         (2 pgs)        Income From an Employer Within 60 Days of Petition (LBR
                                                        Form F1002-1) Filed by Debtor Anahit Harutyunyan (RE:
                                                        related document(s) Set Case Commencement Deficiency
          12/28/2016                                    Deadlines (ccdn)). (Gluck, Steven) (Entered: 12/28/2016)

                                         9              Disclosure of Compensation of Attorney for Debtor (Official
                                         (2 pgs)        Form 2030) Filed by Debtor Anahit Harutyunyan. (Gluck,
          12/28/2016                                    Steven) (Entered: 12/28/2016)

                                         10             Verification of Master Mailing List of Creditors (LBR Form
                                         (3 pgs)        F1007-1) , List of Creditors (Amended). Fee Amount $31
                                                        Filed by Debtor Anahit Harutyunyan (fee not paid) (RE:
                                                        related document(s) Set Case Commencement Deficiency
                                                        Deadlines (ccdn)). (Francis, Dawnette) Modified on
          12/29/2016                                    12/29/2016 (Francis, Dawnette). (Entered: 12/29/2016)

                                         11             Notice of Deficiency of Filing Fees Required to Add
                                         (1 pg)         Additional Creditors (BNC) (RE: related document(s)10
                                                        Verification of Master Mailing List of Creditors (LBR
                                                        F1007-1) filed by Debtor Anahit Harutyunyan, Amended List
          12/29/2016                                    of Creditors (Fee)) (Francis, Dawnette) (Entered: 12/29/2016)

                                         12             BNC Certificate of Notice (RE: related document(s)6
                                         (4 pgs)        Meeting (AutoAssign Chapter 7a)) No. of Notices: 5. Notice
          12/30/2016                                    Date 12/30/2016. (Admin.) (Entered: 12/30/2016)

                                         13             BNC Certificate of Notice (RE: related document(s)1
                                         (2 pgs)        Voluntary Petition (Chapter 7) filed by Debtor Anahit
                                                        Harutyunyan) No. of Notices: 1. Notice Date 12/30/2016.
          12/30/2016                                    (Admin.) (Entered: 12/30/2016)

                                         14             BNC Certificate of Notice (RE: related document(s)7
                                         (2 pgs)        ORDER to comply with bankruptcy rule 1007/3015(b) and
                                                        notice of intent to dismiss case (Ch 7/13) (BNC)) No. of
                                                        Notices: 1. Notice Date 12/30/2016. (Admin.) (Entered:
          12/30/2016                                    12/30/2016)

                                         15             BNC Certificate of Notice (RE: related document(s)5 Notice
                                         (2 pgs)        of Dismissal of Case If Required Documents Are Not Filed
                                                        Within 72 Hours (VAN-197) (BNC)) No. of Notices: 1.
          12/30/2016                                    Notice Date 12/30/2016. (Admin.) (Entered: 12/30/2016)




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                                         16             BNC Certificate of Notice (RE: related document(s)11 Notice
                                         (2 pgs)        of Deficiency of Filing Fees Required to Add Additional
                                                        Creditors (BNC)) No. of Notices: 1. Notice Date 01/01/2017.
          01/01/2017                                    (Admin.) (Entered: 01/01/2017)

                                                        Receipt of Amendment Filing Fee - $31.00 by 20. Receipt
          01/03/2017                                    Number 20214717. (admin) (Entered: 01/03/2017)

                                                        Receipt of Amendment Filing Fee - $31.00 by 20. Receipt
          01/03/2017                                    Number 20214717. (admin) (Entered: 01/04/2017)

                                         17             ORDER and notice of dismissal for failure to file schedules,
                                         (1 pg)         statements, and/or plan - Debtor Dismissed. (BNC) Signed
                                                        on 1/13/2017 (RE: related document(s)1 Voluntary Petition
                                                        (Chapter 7) filed by Debtor Anahit Harutyunyan, 6 Meeting
                                                        (AutoAssign Chapter 7a)). (Lewis, Litaun) (Entered:
          01/13/2017                                    01/13/2017)

                                         18             BNC Certificate of Notice (RE: related document(s)17
                                         (2 pgs)        ORDER and notice of dismissal for failure to file schedules,
                                                        statements, and/or plan (Option A or Option B) (BNC)) No.
                                                        of Notices: 6. Notice Date 01/15/2017. (Admin.) (Entered:
          01/15/2017                                    01/15/2017)

                                                        Chapter 7 Trustee's Report of No Distribution: I, Jason M
                                                        Rund (TR), having been appointed trustee of the estate of the
                                                        above-named debtor(s), report that this case was dismissed or
                                                        converted. I have neither received any property nor paid any
                                                        monies on account of this estate. I hereby certify that the
                                                        chapter 7 estate of the above-named debtor(s) has been fully
                                                        administered through the date of conversion or dismissal. I
                                                        request that I be discharged from any further duties as trustee.
                                                        Key information about this case as reported in schedules filed
                                                        by the debtor(s) or otherwise found in the case record: This
                                                        case was pending for 0 months. Assets Abandoned (without
                                                        deducting any secured claims): Not Applicable, Assets
                                                        Exempt: Not Applicable, Claims Scheduled: Not Applicable,
                                                        Claims Asserted: Not Applicable, Claims scheduled to be
                                                        discharged without payment (without deducting the value of
                                                        collateral or debts excepted from discharge): Not Applicable.
                                                        Filed by Trustee Jason M Rund (TR). (Rund (TR), Jason)
          01/17/2017                                    (Entered: 01/17/2017)




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                                                     PACER Service Center
                                                        Transaction Receipt
                                                           01/23/2017 15:58:12
                                   PACER                                 Client
                                               anayalawgroup:3106179:0
                                   Login:                                Code:
                                                                                   2:16-bk-26852-DS
                                                                                   Fil or Ent: filed
                                                                                   From: 10/25/2016 To:
                                                                                   1/23/2017 Doc From:
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                                   Description: Docket Report                      0 Doc To: 99999999
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                                                                                   Term: included
                                                                                   Format: html Page
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                                                                                   documents: included
                                   Billable
                                               3                         Cost:    0.30
                                   Pages:




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2629
Townsgate Road, Suite 140, Westlake Village, CA 91361
A true and correct copy of the foregoing document entitled (specify): Supplemental Brief with Declarations of
Bone, Mayer and Malek will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
1/23/2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Alana B Anaya       alana@anayalawgroup.com, alana.anaya@sbcglobal.net
       Amy L Goldman (TR)          gabriela.garcia@lewisbrisbois.com, AGoldman@iq7technology.com
       Jilbert Tahmazian      jilbert@jilbertlaw.com, aram@jilbertlaw.com
       United States Trustee (SV)       ustpregion16.wh.ecf@usdoj.gov
       Benjamin A Yrungaray         attorney@denovofirm.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 1/23/2017, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Hon. Martin R. Barash
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 342 / Courtroom 303
Woodland Hills, CA 91367

                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _12/22/16_____, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 1/23/2017                                Jonathan Malek                                        /s/Jonathan Malek
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
